     Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 1 of 78
I-



                                             CIVIL COVER SHEET

 I. CASE STYLE


                                                             IN THE CIRCUIT COURT OF THE 15TH
                                                             JUDICIAL CIRCUIT IN AND FOR PALM
                                                             BEACH COUNTY FLORIDA

      DAVID ZINN, an individual, and       MICHAEL           CASE 41#12CA 006536                 XXXII.
      GRAFF, an individual, on behalf of themselves
      and all others similarly situated,                     CLASS REPRESENTATION

                          Plaintiffs,

      VS,


      SERVICE CORPORATION INTERNATIONAL, a
      Texas corporation; SCI FUNERAL SERVICES OF
      FLORIDA, INC., a Florida corporation;
      ALDERWOODS GROUP, INC., a Delaware
      corporation; MHI GROUP, INC., a Florida
      corporation; FUNERAL SERVICES ACQUISITION
      GROUP, a Florida corporation; FUNERAL
      SERVICES ACQUISITION GROUP, LLC, a Florida
      limited liability company; HAUCK ENTERPRISES,
      LTD., a Texas corporation; and RUSTY SCOTT,
      an individual.

                         Defendants.



 IL TYPE OF CASE (Place an X in one box only. If the case fits more than one type of case,
 select the most definitive category. If the most descriptive label is a sub-category (is indented under a broader
 category), place an x in both the main category and sub-category boxes).

 0 Condominium                                                 O Commercial foreclosure $250,000 or more
 0 Contracts and indebtedness                                  El Homestead residential foreclosure
 O Eminent domain                                                 $0- $50,000
 0 Auto negligence                                             D Homestead residential foreclosure
   Negligence - Other                                             $50,001 - $249,999
   El Business governance                                      O Homestead residential foreclosure
   0 Business torts                                               $250,000 or more
   O Environmental / Toxic tort                                0 Non-Homestead residential foreclosure
   0 Third party indemnification                                  $0-$50,000
      Construction defect                                      El Non-Homestead residential foreclosure
   El Mass tort                                                   $50,001 -$249,999
   O Negligent security                                        O Non-Homestead residential foreclosure
   O Nursing home negligence                                      $250,000 or more
   0 Premises liability - commercial                           O Other real property actions $0- $50,000
   0 Premises liability - residential                          O Other real property actions
 O Products Liability                                              $50,001 - $249,999
 O Real Property / Mortgage Foreclosure                        0 Other real property actions $250,000 or more
   0 Commercial foreclosure $0 - $50,000                     O Professional Malpractice
   O Commercial foreclosure $50,001 - $249,999                 O Malpractice - business


                                              bñÜáÄáí=?a?
  Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 2 of 78


  o Malpractice – medical                                     O Discrimination –employment or other
  O Malpractice – other professional                          0-Insurance claims
00th                                                          O Intellectual property
  0mtitrU6t/T.rade regulation                                 Utibel / Slander
  • B4ines.4transactions                                      O Shareholder derivative action
  Cr:Constitutional challenge – statute or ordinance          O Securities litigation
  ['Constitutional challenge-proposed amendment               0 Trade secrets
  O Corporate trusts                                          0 Trust litigation

III.   REMEDIES SOUGHT (check all that apply):
       E3 Monetary
       E2 Non-Monetary declaratory or injunctive relief
       O Punitive

IV.    NUMBER OF CAUSES OF ACTION [ 6 ]                   ,
       (1) Violations of Florida's Deceptive Trade practices Act—Florida Statute § 501.201 et seq., (2)
           Violations of Florida's Funeral, Cemetery, and Consumer Services Act—Florida Statute § 497.001
           et seq., (3) Negligence, (4) Tortious Interference With Dead Bodies, (5) Equitable/Injunctive Relief,
           and (6) Intentional Infliction of Emotion Distress.

V.     IS THIS CASE A CLASS ACTION LAWSUIT?
       Ei Yes
       0 No

VI. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
         No
      0 Yes. If "Yes", list all related cases by name, case number and court



VII. IS JURY TRIAL DEMANDED IN COMPLAINT?
        E3 Yes
        O No

I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge-and
belief.


 Edward M. Ricci, Esq.                                      Florida Bar No:     185673
Attorney or Part                      1




                                                            Date:   April 6, '2012
(Type or print na e)
            /110


EDWARD M. RICCI, P.A.
303 Banyan Blvd., Suite 400
West Palm Beach, FL. 33401
(561) 842-2820
Attorneys for Plaintiff
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 3 of 78

                                                RETURN OF SERVICE

  State of Florida                                        County of Palm Beach                                                     Circuit Court



                                                                                                                        ni
                                                                                                                       t_P
  Case Number: 2012CA006536XXXXMBAG

  Plaintiff:
  DAVID ZINN, AN INDIVIDUAL, AND MICHAEL GRAFF, AN INDIVIDUAL,
                                                                                                               11 I    ,11

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                                                                                                                               '   ii
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  ON BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
  SITUATED
                                                                                                                      Si' °c33
  VS.
                                                                                                                                    ..0,r
  Defendant:                                                                                                                            fo)
  SERVICE CORPORATION INTERNATIONAL, A TEXAS CORPORATION,                                                                     -n
  ET AL.

  For:
  Edward M. Ricci, Esquire
  EDWARD M. RICCI, ESQUIRE
  303 Banyan Blvd_ Suite 400
  West Palm Beach, FL 33401

  Received by C.W. SERVICES & ASSOCIATES, INC. on the 5th day of April, 2012 at 12:50 pm to be served on
  RUSTY SCOTT, 5411 OKEECHOBEE BLVD., WEST PALM BEACH, FL 33417.

  I, Alan J. Cutler, do hereby affirm that on the 5th day of April, 2012 at 2:41 pm, I:

 INDIVIDUALLY/PERSONALLY served by delivering a true copy of the Summons and Complaint, Demand For
 Jury Trial and Letter Dated 4-6-2012 with the date and hour of service endorsed thereon by me, to: RUSTY
 SCOTT at the address of: 5411 OKEECHOBEE BLVD., LJ MORRIS FUNERAL DIRECTORS, WEST PALM
 BEACH, FL 33417, and informed said person of the contents therein, in compliance with state statutes.

  Military Status: Based upon inquiry of party served, defendant is not in the military service of the United States.

  Description of Person Served: Age: 57, Sex: M, Race/Skin Color: W, Height: 6-4, Weight: 240, Hair: Reddish,
  Glasses: N

  I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server in
  good standing in the judicial circuit in which the process was served. Under Penalities of Purjury, I Declare I have
  Read the Foregoing Document and the Facts Stated in it are True. No Notary is Required Pursuant to Florida State
  Statute 92.525(2)




                                                                               Alan J. Cutler
                                                                               Court Officer #843

                                                                               C.W. SERVICES & ASSOCIATES, INC.
                                                                               4908 Grassieaf Drive
                                                                               Palm Beach Gardens, FL 33418
                                                                               (561) 630-4866

                                                                               Our Job Serial Number: CWO-2012007879



                                    Copyright g)193"2-2011 Database Services, Inc - Process servers Toolbox V6.4x
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 4 of 78




                                                                                               Eafmn.
                                                                                     k:        _Ave n att

                                                       April 5, 2012

         Via Personal Service

        Rusty Scott
        5411 Okeechobee Blvd.
        West Palm Beach, FL


                Re:      Preservation Letter in connection with Zinn v. Service Corporation
                         International, et al.


         Dear Mr. Scott:

                Please be advised that this firm represents Plaintiffs David Zinn and Michael Graff in
        connection with the civil class action styled Zinn v. Service Corporation International, et al.
        commenced in the Circuit Court of the 15 th Judicial Circuit in and for Palm Beach County
        Florida (hereinafter "the Star of David Action").

                In connection with the Star of David Action, we request that you preserve all evidence,
        documents, tangible things and electronically stored information, including but not limited to e-
        mails, ("ESI") potentially relevant to the issues in this case as well as all evidence, documents,
        tangible things and ESI that refers, reflects, pertains or in any way relates to the allegations in the
        complaint filed in this matter. This includes, but is not limited to, any and all evidence and
        documents relating or referring to:

                (a) Improper disposal of human remains;

                (b) Breaking of, and/or damage to, Outer Burial Containers;

                (c) Misplacing of human remains and/or limbs;

                (d) Interment records of Star of David Memorial Gardens Cemetery and Funeral Chapel
                    and Bailey Memorial Gardens;

                ,(e) Vault adjustments;

                (f) Communication and/or correspondence with families and/or individuals concerning
                    "vault disturbances" or "vault adjustments";

                (g) Communication and/or correspondence with families and/or individuals concerning
                    improper interment;



          450 Newport Center Dr., 2nd Floor, Newport Beach, CA 92860   n!.::1949,706.7000   0 949,706,7050
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 5 of 78


         Rusty Scott
         April 5, 2012
         Page 2




                (h) Communication and/or correspondence with the State of Florida; and

                (i) Personnel files and records of all current and former employees associated with Star
                    of David Memorial Gardens Cemetery and Funeral Chapel and Bailey Memorial
                    Gardens, including but not limited to all managers and groundskeepers.

               As used in this document, "you" refers to Rusty Scott and any and all subsidiaries and
        related entities including, but not limited to, Service Corporation International SCI Funeral
        Services of Florida, Inc., Aiderwoods Group, Inc., Mifi Group, Inc., Funeral Services
        Acquisition Group, Inc., and/or Funeral Services Acquisition Group, LLC.

               You should anticipate that much of the information subject to disclosure or responsive to
        discovery in this matter is stored on your current and former computer systems and other media
        and devices (including personal digital assistants, voice-messaging systems, online repositories
        and cell phones). ESI should be afforded the broadest possible definition and includes (by way
        of example and not as an exclusive list) potentially relevant information electronically,
        magnetically or optically stored as

             • Digital communications (e.g., e-mail, voice mail, instant messaging);
               Word processed documents (e.g., Word or WordPerfect documents and drafts);
             • Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);
             • Accounting Application Data (e.g., QuickBooks, Money, Peachtree data files);
               Image and Facsimile Files (e.g., ,PDF, .TIFF, PG, .GIF images);
             • Sound Recordings (e.g., .WAV and .MP3 files);
             • Video and Animation (e.g., .AVI and .MOV files);
             • Databases (e.g., Access, Oracle, SQL Server data, SAP);
             • Contact and Relationship Management Data (e.g., Outlook, ACT!);
               Calendar and Diary Application Data (e.g., OutloOk PST, Yahoo, blog tools);
             • Online Access Data (e.g., Temporary Internet Files, History, Cookies);
             • Presentations (e.g., PowerPoint, Corel Presentations)
             • Network Access and Server Activity Logs;
             • Project Management Application Data;
             • Computer Aided Design/Drawing Files; and,
             • Back Up and Archival Files (e.g., Zip, OHO)

                ESI resides not only in areas of electronic, magnetic and optical storage media reasonably
        accessible to you, but also in areas you may deem not reasonably accessible, You are obliged to
        preserve potentially relevant evidence from both these sources of ESI, even if you do not
        anticipate producing such ESI.
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 6 of 78


         Rusty Scott
         April 5, 2012
         Page 3




                 You are further directed to immediately initiate a litigatio:n hold for potentially relevant
         ES!, evidence, documents and tangible things, and to act diligently and in good faith to secure
         and audit compliance with such litigation hold. This includes the immediate suspension of any
         and all policies relating to the destruction of evidence, documents and tangible things.

                 You are further directed to immediately identify and modify or suspend features of your
         information systems and devices that, in routine operation, operate to cause the loss of
         potentially relevant EST. Examples of such features and operations include:

               •   Purging the contents of e-mail repositories by age, capacity or other criteria;
               •   Using data or media wiping, disposal, erasure or encryption utilities or device;
               •   Overwriting, erasing, destroying or discarding back up media;
               •   Re-assigning, re-imaging or disposing of systems, servers, devices or media;
               •   Running antivirus or other programs effecting wholesale metadata alteration;
               •   Releasing or purging online storage repositories;
               •   Using metadata stripper utilities;
               •   Disabling server or IM logging; and,
               •   Executing drive or file defragmentation or compression programs.

                 Though we expect that you will act swiftly to preserve data on office workstations and
         servers, you should also determine if any home or portable systems may contain potentially
         relevant data. To the extent that potentially relevant ESI was created or reviewed away from the
         office on home or portable systems, you must preserve the contents of systems, devices and
         media used for these purposes.

                 Your preservation obligation extends beyond ESI in your care, possession or custody and
         includes ESI in the custody of others that are subject to your direction or control. Accordingly,
         you must notify any current or former agent, attorney, consultant, expert, employee, custodian or
         contractor in possession of potentially relevant ESI to preserve such ESI to the full extent of your
         obligation to do so, and you must take reasonable steps to secure their compliance.

                  As hard copies of ESI do not preserve electronic searchability or metadata (information
         describing the history and characteristics of particular ES!), they are not an adequate substitute
         for, or cumulative of, electronically stored versions. If information exists in both electronic and
         paper forms, you should preserve both forms.
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 7 of 78


         Rusty Scott
         April 5, 2012
         Page 4




                     You nuist act immediately to preserve any and all potentially relevant evidence,
                                      documents, tangible things and ESL

                                                     Very truly yours,



                                                     Michael J. Avenatti
                                                     Eagan Avenatti, LLP

         MJA:jkr

         cc:    Gregory T. Sangalis (fax, e-mail, Federal Express)
                General Counsel
                Service Corporation International
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 8 of 78

                                               RETURN OF SERVICE

 State of Florida                                         County of Palm Beach                                                         Circuit Court

 Case Number: 2012CA006536)000(MBAG


 Plaintiff:
 DA WD ZINN, AN INDIVIDUAL, AND MICHAEL GRAFF, AN INDIVIDUAL,
 ON BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY                                                                                             ..-r-t-.
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 SITUATED                                                                                                                 -5. b              . .......• •
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 vs.                                                                                                                    cloa-x. - v2 .
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 Defendant:                                                                                                              0.37 . . C, •
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                                                                                                                          ......,co
 SERVICE CORPORATION INTERNATIONAL, A TEXAS                                                                                ....4 ,..,
                                                                                                                                  r..... . 10:4
 CORPORATION, ET AL.
                                                                                                                             -- -X- cl       ..• ,.,
 For:
 Edward M. Ricci, Esquire
 EDWARD M. RICCI, ESQUIRE
 303 Banyan Blvd. Suite 400
 West Palm Beach, FL 33401

 Received by C.W. SERVICES on the 5th day of April, 2012 at 2:20 pm to be served on MHI GROUP INC.,BY
 SERVICE UPON ITS REGISTERED AGENT CORPORATION SERVICE COMPANY, 1201 HAYS STREET,
 TALLAHASSEE, FL 32301.

 I, ERIC L. LARSON, do hereby affirm that on the 5th day of April, 2012 at 3:00 pm,

served a CORPORATION by serving a true copy of the Summons and Complaint, Demand For Jury Trial and
Letter Dated 4-5-2012 with the date and hour of service endorsed thereon by me, to: JOYCE MARKLEY as
EMPLOYEE FOR REGISTERED AGENT for MHI GROUP INC., at the address of: 1201 HAYS STREET,
TALLAHASSEE, FL 32301, and informed said person of the contents therein, in compliance with state statutes.

Additional Information pertaining to this Service:
JOYCE MARKLEY: WF, 35 YRS, 5'6, 140 LBS, BLACK HAIR, EMPLOYEE FOR RA AUTHORIZED TO ACCEPT
SERVICE

Under penalty of perjury, I declare that I have read the forgoing Verified return of Service and the facts stated in it
are true, that I that I am over the age of 18, have no interest in the above action, and am a Certified Process
Server, in good standing, in the judicial circuit in which the process was served. I also certify that the above stated
facts am correct to the best of my knowledge:. Pursuant to F.S. 92.525(2), Notary not required.




                                                                               ERIC L. LARSON
                                                                               CPS #063, 2ND JUDICIAL CIRCUIT

                                                                              C.W. SERVICES
                                                                              4908 Grassleaf Drive
                                                                              Palm Beach Gardens, FL 33418
                                                                              (561) 630-4866

                                                                              Our Job Serial Number: CW0-2012007876
                                                                              Ref: 7876


                                   Copyright 0 1942-2011 betebase Services, Inc. -   ROC9S1   Server's Toolbox V6. 5f
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 9 of 78




                                                                                r---R Eagan
                                                                                L._ Avenattiuy
                                                      April 5, 2012

        Via Personal Service

        MHI Group, Inc.
        1929 Allen Parkway
        Houston, TX 77019

        By service on their agent;
        Corporation Service Company
        1201 Hays Street •
        Tallahassee, FL 32301


               Re:     Preservation Letter in connection with Zinn v. Service Corporation
                       International, et al.


        Dear Sirs:

               Please be advised that this firm represents Plaintiffs David Zinn and Michael Graff in
       connection with the civil class action styled Zinn v. Service Corporation International, et at
       commenced in the Circuit Court of the 15 th Judicial Circuit in and for Palm Beach County
       Florida (hereinafter "the Star of David Action").

               In connection with the Star of David Action, we request that you preserve all evidence,,
       documents, tangible things and electronically stored information, including but not limited to e-
       mails, ("ESI") potentially relevant to the issues in this case as well as all evidence, documents,
       tangible things and ESI that refers, reflects, pertains or in any way relates to the allegations in the
       complaint filed in this matter. This includes, but is not limited to, any and all evidence and
       documents relating or referring to:

               (a) Improper disposal of human remains;

               (b) Breaking of, and/or damage to, Outer Burial Containers;

               (c) Misplacing of human remains and/or limbs;

               (d) Interment records of Star of David Memorial Gardens Cemetery and Funeral Chapel
                   and Bailey Memorial Gardens;

               (e) Vault adjustments;




        450 Newport Center Or., 2nd Floor, Newport Beach, CA 92660    0 949.706.7000 0 949.706,7050
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 10 of 78



        MI-11 Group, Inc.
        April 5, 2012
        Page 2




                (f) Communication and/or correspondence with families and/or individuals concerning
                    "vault disturbances" or "vault adjustments";

                (g) Communication and/or correspondence with families and/or individuals concerning
                    improper interment;

                (h) Communication and/or correspondence with the State of Florida; and

                (i) Personnel files and records of all current and former employees associated with Star
                    of David Memorial Gardens Cemetery and Funeral Chapel and Bailey Memorial
                    Gardens, including but not limited to all managers and groundskeepers.

               As used in this document, "you" refers to MHI Group, Inc. and any and all subsidiaries
        and related entities including, but not limited to, Service Corporation International, SCI Funeral •
        Services of Florida, Inc., Aldervvoods Group, Inc., Funeral Services Acquisition Group, Inc.,
        Funeral Services Acquisition Group, LLC, and/or Rusty Scott.

               You should anticipate that much of the information subject to disclosure or responsive to
        discovery in this matter is stored on your current and former computer systems and other media
        and devices (including personal digital assistants, voice-messaging systems, online repositories ,
        and cell phones). ESI should be 'afforded the broadest possible definition and includes (by way
        of example and not as an exclusive list) potentially relevant information electronically,:
        magnetically or optically stored as:

            •   Digital communications (e.g., e-mail, voice mail, instant messaging);
            •   Word processed documents (e.g., Word or WordPerfect documents and drafts);
            •   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);
            •   Accounting Application Data (e.g., QuicicBoolc.s, Money, Peachtree data files);
            •   Image and Facsimile Files (e.g., .PDF, .11FF, JPG, .GIF images);
            •   Sound Recordings (e.g., .WAV and .MP3 files);
            •   Video and Animation (e.g., .AVI and .MOV files);
            •   Databases (e.g., Access, Oracle, SQL Server data, SAP);
            •   Contact and Relationship Management Data (e.g., Outlook, ACT!);
            •   Calendar and Diary Application Data (e.g., Outlook PST, Yahoo, blog tools);
            •   Online Access Data (e.g., Temporary Internet Files, History, Cookies);
            •   Presentations (e.g., PowerPoint, Cord Presentations)
            •   Network Access and Server Activity Logs;
            ▪   Project Management Application Data;
            •   Computer Aided Design/Drawing Files; and,
            •   Back Up and Archival Files (e.g., Zip, GHO)
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 11 of 78



        MHI Group, Inc.
        April 5, 2012
        Page 3




                PSI resides not only in areas of electronic, magnetic and optical storage media reasonably
        accessible to you, but also in areas you may deem not reasonably accessible. You are obliged to
        preserve potentially relevant evidence from both these sources of ESI, even if you do not
        anticipate producing such ESL
                You are further directed to immediately initiate a litigation hold for potentially relevant
        EST, evidence, documents and tangible things, and to act diligently and in good faith to secure
        and audit compliance with such litigation hold. This includes the immediate suspension of any
        and all policies relating to the destruction of evidence, documents and tangible things.
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        information systems and devices that, in routine operation, operate to cause the loss of
        potentially relevant ESI. Examples of such features and operations include:

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             •   Using data or media wiping, disposal, erasure or encryption utilities or device;
             •   Overwriting, erasing, destroying or discarding back up media;
             •   Re-assigning, re-inaaging or disposing of systems, servers, devices or media;
             •   Running antivirus or other programs effecting wholesale metadata alteration;
             •   Releasing or purging online storage repositories;
             •   Using metadata Stripper utilities;
             •   Disabling server or IIVI logging; and,
             •   Executing drive or file defragmentation or compression programs.

                Though we expect that you will act swiftly to preserve data on office workstations and
        servers, you should also determine if any home or portable systems may contain potentially
        relevant data. To the extent that potentially relevant EST was created or reviewed away from the
        office on home or portable systems, you must preserve the contents of systems, devices and
        media used for these purposes.

                Your preservation obligation extends beyond EST in your care, possession or custody and
        includes PSI in the custody of others that are subject to your direction or control. Accordingly,
        you must notify any current or former agent, attorney, consultant, expert, employee, custodian or
        contractor in possession of potentially relevant ESI to preserve such EST to the full extent of your
        obligation to do so, and you must take reasonable steps to secure their compliance.

                As hard copies of EST do not preserve electronic searchability or metadata (information
        describing the history and characteristics of particular PSI), they are not an adequate substitute
        for, or cumulative of, electronically stored versions. If information exists in both electronic and
        paper forms, you should preserve both forms.
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 12 of 78



        MEI Group, Inc.
        April 5, 2012
        Page 4




                  You must act immediately to preserve any and all potentially relevant evidence,
                                  documents, tan_gible things and ESL

                                                   Very truly yours,



                                                   Michael J. Avenatti
                                                   Eagan Avenatti, LLP

        MJA:jkr
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 13 of 78

                                               RETURN OF SERVICE

 State of Florida                                        County of Palm Beach                                                Circuit Court

 Case Number: 2012CA006536)000(MBAG


 Plaintiff:
 DAVID ZINN, AN INDIVIDUAL, AND MICHAEL GRAFF, AN INDIVIDUAL,
 ON BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
                                                                                                                                                •
 SITUATED                                                                                                         -0 t2P     1;t7,
                                                                                                                              goo'
 vs.
 Defendant:                                                                                                         -.3'11   -740
                                                                                                                     CO            •0:1
 SERVICE CORPORATION INTERNATIONAL, A TEXAS                                                                                         •••••
 CORPORATION, ET AL.                                                                                              0 77               at     -

                                                                                                                   7.1-4              15:
 For:
 Edward M. Ricci, Esquire                                                                                                    ' '        ■
                                                                                                                                       ". :`
 EDWARD M. RICCI, ESQUIRE
 303 Banyan Blvd. Suite 400
 West Palm Beach, FL' 33401

 Received by C.W. SERVICES on the 5th day of April, 2012 at 2:14 pm to be served on FUNERAL-SERVICES
 ACQUISITION GROUP LLC. BY SERVICE UPON ITS REGISTERED AGENT CORPORATION SERVICE
 COMPANY, 1201 HAYS STREET, TALLAHASSEE, FL 32301,

 I, ERIC L. LARSON, do hereby affirm that on the 5th day of April, 2012 at- 3:00 pm,!:

 served a CORPORATION by serving a true copy of the Summons and Complaint, Demand For Jury Trial and
 Letter Dated 4 5 2012 with the date and hour of service endorsed thereon by me, to: JOYCE MARKLEY as
                 -   -


 EMPLOYEE FOR REGISTERED AGENT for FUNERAL SERVICES ACQUISITION GROUP LLC., at the address
 of: 1201 HAYS STREET, TALLAHASSEE, FL 32301, and informed said person of the contents therein, in
 compliance with state statutes.

 Additional Information pertaining to this Service:
 JOYCE MARKLEY: WF, 55 YRS, 56", 140 LBS, BLACK HAIR, EMPLOYEE FOR RA AUTHORIZED TO ACCEPT
 SERVICE

 Under penalty of perjury, I declare that I have read the forgoing Verified return of Service and the facts stated in it
 are true, that 1 that I am over the age of 18, have no interest in the above action, and am a Certified Process
 Server, in good standing, in the judicial circuit in which the process was served. I also certify that the above stated
 facts are correct to the best of my knowledge.. Pursuant to F. S. 92.525(2), Notary not required.




                                                                             CPS #063, 2ND JUDICIAL CIRCUIT

                                                                             C.W. SERVICES
                                                                             4908 Grassleaf Drive
                                                                             Palm Beach Gardens, FL 33418
                                                                             (561) 630-4866

                                                                             Our Job Serial Number: CWO-2012007874
                                                                             Ref: 7874


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                                                                                            Eagan
                                                                                            AvenattiLLP

                                                      April 5, 2012

        Via Personal Service

        Funeral Services Acquisition Group, LLC
        1929 Allen Parkway
        Houston, TX 77019

        By service on their agent:
        Corporation. Service Company
        1201 Hays Street
        Tallahassee, FL 32301

                Re: Preservation Letter in connection with Zinn v. Service Corporation
                      International. et al.


        Dear Sirs:

                Please be advised that this firm represents Plaintiffs David Zinn and Michael Graff in
        connection with the civil class action styled Zinn v. Service Corporation International, et aL
        commenced in the Circuit Court of the 15 th Judicial Circuit in and for Palm Beach County
        Florida (hereinafter "the Star of David Action").

                In connection with the Star of David Action, we request that you preserve all evidence,
        documents, tangible things and electronically stored information, including but not limited to e-
        mails, ("ESI") potentially relevant to the issues in this case as well as all evidence, documents,
        tangible things and ESI that refers, reflects, pertains or in any way relates to the allegations in the
        complaint filed in this matter. This includes, but is not limited to, any and all evidence and
        documents relating or referring to:

                (a) Improper disposal of human remains;

                (b) Breaking of, and/or damage to, Outer Burial Containers;

                (c) Misplacing of human remsins and/or limbs;

                (d) Interment records of Star of David Memorial Gardens Cemetery and Funeral Chapel
                    and Bailey Memorial Gardens;

                (e) Vault adjustments;




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        Funeral Services Acquisition Group, LLC
        April 5, 2012
        Page 2




                (f) Communication and/or correspondence with families and/or individuals concerning
                    "vault disturbances" or "vault adjustments";

                (g) Communication and/or correspondence With families and/or individuals concerning
                    improper interment;

                (h) Communication and/or correspondence with the State of Florida; and

                (i) Personnel files and records of all current and former employees associated with Star
                    of David Memorial Gardens Cemetery and Funeral Chapel and Bailey Memorial
                    Gardens, including but not limited to all managers and groundskeepers.

               As used in this document, "you" refers to Funeral Services Acquisition Group, LLC and
        any and all subsidiaries and related entities including, but not limited to, Service Corporation
        International, SCI Funeral Services of Florida, Inc., Alderwoods Group, Inc., MHI Group, Inc.,
        Funeral Services Acquisition Group, Inc., and/or Rusty Scott.

               You should anticipate that much of the information subject to disclosure or responsive to
        discovery in this matter is stored on your current and former computer systems and other media
        and devices (including personal digital assistants, voice-messaging systems, online repositories
        and cell phones). ESI should be afforded the broadest possible definition and includes (by way
        of example and not as an exclusive list) potentially relevant information electronically,
        magnetically or optically stored as:

            •   Digital communications (e.g., e-mail, voice mail, instant messaging);
            •   Word processed documents (e.g., Word or WordPerfect documents and drafts);
            •   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);
            •   Accounting Application Data (e.g., QuickBooks, Money, Peachtree data files);
            •   Image and Facsimile Files (e.g., .PDF, .TIFF, JPG, .GIF images);
            •   Sound Recordings (e.g., : WAV and .MP3 files);
            •   Video and Animation (e.g., .AVI and .MOV files);
            •   Databases (e.g., Access, Oracle, SQL Server data, SAP);
            •   Contact and Relationship Management Data (e.g., Outlook, ACT!);
            •   Calendar and Diary Application Data (e.g., Outlook PST, Yahoo, blog tools);
            •   Online Access Data (e.g., Temporary Internet Files, History, Cookies);
            •   Presentations (e.g., PowerPoint, Corel Presentations)
            •   Network Access and Server Activity Logs;
            •   Project Management Application Data;
            •   Computer Aided Design/Drawing Files; and,
            •   Back Up and Archival Files (e.g., Zip, GHO)
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        April 5, 2012
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                ESI resides not only in areas of electronic, magnetic and optical storage media reasonably
        accessible to you, but also in areas you may deem not reasonably accessible. You are obliged to
        preserve potentially relevant evidence from both these sources of ESI, even if you do not
        anticipate producing such ESI.
                You are further directed to immediately initiate a litigation hold for potentially relevant
        ESI, evidence, documents and tangible things, and to act diligently and in good faith to secure
        and audit compliance with such litigation hold. This includes the immediate suspension of any
        and all policies relating to the destruction of evidence, documents and tangible things

          • You are further directed to immediately identify and modify or suspend features of your
        information systems and devices that, in routine operation, operate to cause the loss of
        potentially relevant ES!. Examples of such features and operations include:

             •   Purging the contents of e-mail repositories by age, capacity or other criteria;
             •   Using data or media wiping, disposal, erasure or encryption utilities or device;
             •   Overwriting, erasing, destroying or discarding back up media;
             •   Re-assigning, re-imaging or disposing of systems, servers, devices or media;
             •   Running antivirus or other programs effecting wholesale metadata alteration;
             •   Releasing or purging online storage repositories;
             •   Using metadata stripper utilities;
             •   Disabling server or IM logging; and,
             •   Executing drive or file defragmentation or compression programs,

                Though we expect that you will act swiftly to preserve data on office workstations and
        servers, you should also determine if any home or portable systems may contain potentially
        relevant data. To the extent that potentially relevant ESI was created or reviewed away from the
        office on home or portable systems, you must preserve the contents of systems, devices and
        media used for these purposes.

                Your preservation obligation extends beyond ESI in your care, possession or custody and
        includes ESI in the custody of others that are subject to your direction or control. Accordingly,
        you must notify any current or former agent, attorney, consultant, expert, employee, custodian or
        contractor in possession of potentially relevant ESI to preserve such ESI to the full extent of your
        obligation to do so, and you must take reasonable steps to secure their compliance.

                As hard copies of ESI do not preserve electronic searchability or metadata (information
        describing the history and characteristics of particular ESI), they are not an adequate substitute
        for, or cumulative of, electronically stored versions. If information exists in both electronic and
        paper forms, you should preserve both forms.
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         Funeral Services Acquisition Group, LLC
         April 5, 2012
         Page 4




                    You must act immediately to preserve any and all potentially relevant evidence,
                                    documents, tangible things and ES!.

                                                    Very truly yours,

                                                                                     12;0'
                                                    Michael J. Avenatti
                                                    Eagan Avenatti, LLP

        MJA:jkr
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 18 of 78

                                               RETURN OF SERVICE

 State of Florida                                         County of Palm Beach                                                  Circuit Court

 Case Number: 2012CA006536XXXXMBAG


 Plaintiff'
 DAVID ZINN, AN INDIVIDUAL, AND MICHAEL GRAFF, AN INDIVIDUAL,
 ON BEHALF OF THEMSELVES AND ALL OTHERS SIMILARLY
 SITUATED
 vs.                                                                                                                Areer giv.-- •
 Defendant: _                                                                                                         1-'221 . ,:ro.'
 SERVICE CORPORATION INTERNATIONAL, A TEXAS                                                                         nclay '_ vil 7
 CORPORATION, ET AL.                                                                                                v:1'- '' ;1i • .. - ■ .--   ;.:
                                                                                                                     . c2r,,:p •
 For:
 Edward M. Ricci, Esquire
 EDWARD M. RICCI, ESQUIRE                                                                                                            r.


 303 Banyan Blvd. Suite 400                                                                                                      r
 West Palm Beach, FL 33401

 Received by C. W. SERVICES on the 5th day of April, 2012 at 2:15 pm to be served on FUNERAL SERVICES
 ACQUISITION GROUP BY SERVICE UPON ITS REGISTERED AGENT CORPORATION SERVICE COMPANY,
 1201 HAYS STREET, TALLAHASSEE, FL 32301.

 I, ERIC L. LARSON, do hereby affirm that on the 5th day of April, 2012 at 3:00 pm,

 served a CORPORATION by serving a true copy of the Summons and Complaint, Demand For Jury Thal and
 Letter Dated 4-5-2012 with the date and hour of service endorsed thereon by me, to: JOYCE MARKLEY as
 EMPLOYEE FOR REGISTERED AGENT for FUNERAL SERVICES ACQUISITION GROUP, at the address of:
 1201 HAYS STREET, TALLAHASSEE, FL 32301, and informed said person of the contents therein, in
 compliance with state statutes.

 Additional Information pertaining to this Service:
 JOYCE MARKLEY: WF, 55 YRS, 56", 140 LBS, BLACK HAIR, EMPLOYEE FOR RA AUTHORIZED TO ACCEPT
 SERVICE

 Under penalty of perjury, Ideclare that have read the forgoing Verified return of Service and the facts stated in it
 are true, that I that I am over the age of 18, have no interest in the above action, and am a Certified Process
 Server, in good standing, in the judicial circuit in which the process was served. I also certify that the above stated
 facts are correct to the best of my knowledge.. Pursuant to F.S. 92.525(2), Notary not required.




                                                                               CPS #063, 2ND JUDICIAL CIRCUIT

                                                                              C.W. SERVICES
                                                                              4908 Grassleaf Drive
                                                                              Palm Beach Gardens, FL 33418
                                                                              (561) 630-4866

                                                                              Our Job Serial Number: CWO-2012007875
                                                                              Ref: 7875


                                   COpy1gh1 ID 1992-2011 Dalebase Services, inc. - Process Servers Toolbox V6.51'
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                                                                                           Eagan
                                                                                           Avenattim
                                                      April 5, 2012

        Via Personal Service

       Funeral Services Acquisition Group, Inc.
       17250 W. Dixie Highway
       N. Miami Beach, FL 33160

       By service on their agent:
       Corporation Service Company
       1201 Hays Street
       Tallahassee, FL 32301


               Re: Preservation Letter in connection with Tann v. Service Corporation
                     International. et al.


       Dear Sirs:

               Please be advised that this firm represents Plaintiffs David Zinn and Michael Graff in
       connection with the civil class action styled Zinn v. Service Corporation international, et al.
       commenced in the Circuit Court of the 15 th Judicial Circuit in and for Palm Beach County
       Florida (hereinafter "the Star of David Action").

               In connection with the Star of David Action, we request that you preserve all evidence,
       documents, tangible things and electronically stored information, including but not limited to e-
       mails, ("ESI") potentially relevant to the issues in this case as well as all evidence, documents,
       tangible things and ESI that refers, reflects, pertains or in any way relates to the allegations in the
       complaint filed in this matter. This includes, but is not limited to, any and all evidente and
       documents relating or referring to:

               (a) Improper disposal of human remains;

               (b) Breaking of, and/or damage to, Outer Burial Containers;

               (c) Misplacing of human remains and/or limbs;

               (d) Interment records of Star of David Memorial Gardens Cemetery and Funeral Chapel
                   and Bailey Memorial Gardens;

               (e) Vault adjustments;




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                •- ■ ,,,,,,,,,,, ■ •




        Funeral Services Acquisition Group, Inc.
        April 5, 2012
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                    (f) Communication and/or correspondence with families and/or individuals concerning
                        "vault disturbances" or "vault adjustments";

                   (g) Communication and/or correspondence with families and/or individuals concerning
                       improper interment;

                   (h) Communication and/or correspondence with the State of Florida; and

                   (i) Personnel files and records of all current and former employees associated with Star
                       of David Memorial Gardens Cemetery and Funeral Chapel and Bailey Memorial
                       Gardens, including but not limited to all managers and groundskeepers.

               As used in this document, "you" refers to Funeral Services Acquisition Group, Inc. and
        any and all subsidiaries and related entities including, but not limited to, Service Corporation
        International, SCI Funeral Services of Florida, Inc., Alderwoods Group, Inc., MHI Group, Inc.,
        Funeral Services Acquisition Group, LLC, and/or Rusty Scott.

               You should anticipate that much of the information subject to disclosure or responsive to
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        and devices (including personal digital assistants, voice-messaging systems, online repositories
        and cell phones). EST should be afforded the broadest possible definition and includes (by way
        of example and not as an exclusive list) potentially relevant information electronically,
        magnetically or optically stored as:

            •       Digital communications (e.g., e-mail, voice mail, instant messaging);
            •       Word processed documents (e.g., Word or WordPerfect documents and drafts);
            •       Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);
            •       Accounting Application Data (e.g., QuickBooks, Money, Peachtree data files);
            •       Image and Facsimile Files (e.g., .PDF, .TIFF,1PG, .GIF images);
            •       Sound Recordings (e.g., .WAV and .MP3 files);
            •       Video and Animation (e.g., .AV1 and .MOV files);
            •       Databases (e.g., Access, Oracle, SQL Server data, SAP); •
            •       Contact and Relationship Management Data (e.g., Outlook, ACT!);
            •       Calendar and Diary Application Data (e.g., Outlook PST, Yahoo, blog tools);
            •       Online Access Data (e.g., Temporary Internet Files, History, Cookies);
            •       Presentations (e.g., PowerPoint, Carel Presentations)
            •       Network Access and Server Activity Logs;
            •       Project Management Application Data;
            •       Computer Aided Design/Drawing Files; and,
                    Back Up and Archival Files (e.g., Zip, GHO)
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        April 5, 2012
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                ESI resides not only in areas of electronic, magnetic and optical storage media reasonably
        accessible to you, but also in areas you may deem not reasonably accessible. You are obliged to
        preserve potentially relevant evidence from both these sources of ESI, even if you do not
        anticipate producing such ESL

                You are further directed to immediately initiate a litigation hold for potentially relevant
        ESL evidence, documents and tangible things, and to act diligently and in good faith to secure
        and audit compliance with such litigation hold. This includes the immediate suspension of any
        and all policies relating to the destruction of evidence, documents and tangible things.

               You are further directed to immediately identify and modify or suspend features of your
        information systems and devices that, in routine operation, operate to cause the loss of
        potentially relevant ES!. Examples of such features and operations include:

             •   Purging the contents of e-mail repositories by age, capacity or other criteria;
             •   Using data or media wiping, disposal, erasure or encryption utilities or device;
             •   Overwriting, erasing, destroying or discarding back up media;
             •   Re-assigning, re-imaging or disposing of systems, servers, devices or media;
             •   Running antivirus or other programs effecting wholesale metadata alteration;
             •   Releasing or purging online storage repositories;
             •   Using rnetadata stripper utilities;
             •   Disabling server or IM logging; and,
             •   Executing drive or file defragmentation or compression programs.

                Though we expect that you will act swiftly to preserve data on office workstations and
        servers, you should also determine if any home or portable systems may contain potentially
        relevant data. To the extent that potentially relevant ESI was created or reviewed away from the
        office on home or portable systems, you must preserve the contents of systems, devices and
        media used for these purposes.

                Your preservation obligation extends beyond ES1 in your care, possession or custody and
        includes ESI in the custody of others that are subject to your direction or control. Accordingly,
        you must notify any current or former agent, attorney, consultant, expert, employee, custodian or
        contractor in possession of potentially relevant ESI to preserve such ESI to the full extent of your
        obligation to do so, and you must take reasonable steps to secure their compliance.

               As hard copies of ESI do not preserve electronic searchability or metadata (information
       describing the history and characteristics of particular ES!), they are not an adequate substitute
       for, or cumulative of electronically stored versions. If information exists in both electronic and
       paper forms, you should preserve both forms,
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        , -
        Funeral Services Acquisition Group, Inc.
        April 5, 2012
        Page 4




                   You must act immediately to preserve any and all potentially relevant evidence,
                                   documents, tangible things and ESL

                                                    Very truly yours,


                                                                             afregtbi
                                                    Michael J. Avenatt
                                                    Ragan Avenatti, LLP

        MJA:jkr
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                                                            IN THE CIRCUIT COURT OF THE
                                                            ISTII JUDICIAL CIRCUIT IN AND
                                                            FOR PALM BEACH COUNTY
                                                            FLORIDA

     DAVID ZINN, an individual, and MICHAEL                 CASE NO; 2012CA006536AG
     GRAFF, an individual, on behalf of themselves
     and all others similarly situated,                     CLASS REPRESENTATION

                           Plaintiffs                                                     3-7
                                                                                                             ;• .
     VS.                                                                                caS
                                                                                                                             e'AA
     SERVICE CORPORATION INTERNATIONAL,                                                          co                         rn,
                                                                                       C)C
                                                                                                 c:3
                                                                                                  -
     a Texas corporation; SCI FUNERAL SERVICES                                         2c)                          ,
                                                                                                   -

     OF FLORIDA, INC., a Florida corporation;                                          r- •
     ALDERWOODS GROUP, INC., a Delaware                                                       1. 1".:crr";              •
                                                                                                                atf
     corporation; MIT GROUP, INC., a Florida
     corporation; FUNERAL SERVICES
     ACQUISITION GROUP, a Florida corporation;
     FUNERAL SERVICES ACQUISITION GROUP,
     LLC, a Florida limited liability company;
     HAUCK ENTERPRISES, LTD., a Texas
     corporation; and RUSTY SCOTT, an individual.

                          Defendants.



                 PLAINTIFF DAVID ZINN'S FIRST REQUEST TO PRODUCE TO
                    DEFENDANT SCI FUNERAL SERVICES OF FLORIDA, INC.
            In accordance with Florida Rule of Civil Procedure 1.350, Plaintiff David Zinn, by and
     through his attorneys, demands that Defendant SCI Funeral Services of Florida, Inc. produce the
     items and matters hereinafter set forth.
            YOUR ATTENTION IS INVITED TO THE REQUIREMENTS OF RULE 1350
            WHEREIN THE PARTY TO WHOM THIS REQUEST IS DIRECTED IS REQUIRED
            TO SERVE A WRITTEN RESPONSE HERETO WITHIN 30 DAYS AFTER SERVICE
            OF THE REQUEST, EXCEPT THAT A DEFENDANT MAY SERVE A RESPONSE
            WITHIN 45 DAYS AFTER SERVICE OF THE PROCESS AND INITIAL PLEADING
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             ON THAT DEFENDANT SUBJECT TO THE ALLOWANCE OF A SHORTER OR
             LONGER TIME BY THE COURT.
             IT IS REQUIRED THAT ALL COPIES OF ITEMS PRODUCED BE AT LEAST FULL

             SIZE (8 1/2 X II OR 8 V2 X 14) AND LEGIBLE.


                                              DEFINITIONS
      The following definitions are applicable to these Requests to Produce:
      I.     The word "DOCUMENT(S)" is used in the broadest sense to include all forms of
             tangible expression, including, but not limited to, correspondence; written, typed,
             punched, encoded, printed, recorded, magnetic, graphics, or photographic material; or
             material transmitted by facsimile; mechanical recordings; sound or visual reproductions;
             drawings or sketches; or any other retrievable data or information, however stored,
             recorded or coded, whether by computer, electronically or some other means, including
             electronic mail, computer data bases, computer disks, computer diskettes or any other
             computer-generated or stored message, communications, writing or compilation.
      2.     The term "RELATED TO" and "REFLECTING" as used herein shall mean shall mean
             relating to, reflecting, evidencing, memorializing, referring, refuting, constituting,
             containing, discussing, describing, embodying, reflecting, identifying, mentioning,
             stating, and/or otherwise relating to in any way, in whole or in part, the subject matter
             referred to in the request.
      3.     The term "COMMUNICATION" as used herein shall mean and refer to any contact
             between two or more persons or entities including without limitation, correspondence or
             oral contact by such means as face-to-face or in-person meetings, telephone
             conversations, email, or any other form of electronic COMMUNICATION, and shall
             include, without limitation, written contacts by such means as any DOCUMENTS.
      4.     The terms "YOU" •and "YOUR'! as used herein shall refer to the Defendant SCI

             FUNERAL SERVICES OF FLORIDA, INC., and/or all of its predecessors, successors in


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             interest, officers, directors, employees, agents, attorneys, parents, subsidiaries, divisions,
             affiliates, and/or any individual or entity acting on its behalf.

       5.    The term "HAUCK" as used herein shall refer to the Defendant HAUCK
             ENTERPRISES, LTD. and/or all of its predecessors, successors in interest, officers,
             directors, employees, agents, attorneys, parents, subsidiaries, divisions, affiliates, and/or
             any individual or entity acting on its behalf.
      6.     STAR OF DAVID refers to Star of David Memorial Gardens Cemetery and Funeral
             Chapel & Bailey Memorial Gardens located at 7701 Bailey Road, North Lauderdale,
             Florida.
      7.     The term "HUMAN REMAINS" as used herein shall having the same meaning as that set
             forth in Fla. Stat. § 497.005(38).
      8.     The terms "BURIAL MERCHANDISE" and "FUNERAL MERCHANDISE" shall have
             the same meaning as that set forth in Fla. Sta. § 497.005(6).
      9.     The term "BURIAL RIGHT" shall have the same meaning as that set forth in Fla. Sta. §
             497.005(7).
       10.   The term "GRAVE SPACE" shall have the same meaning as that set forth in Fla. Sta. §
             497.005(37).
       11.   The term "DISINTERMENT" shall have the same meaning as that set forth in Ha. Sta. §
             497.005(29).
       12.   The term "LEGALLY AUTHORIZED PERSON" shall have the same meaning as that
             set forth in Fla. Sta. § 497.005(39).
       13.   The term "OUTER BURIAL CONTAINER" and "OBC" shall have the same meaning as
             that set forth in Fla. Sta. § 497.005(50).
       14.   The term "ALDERWOODS" refers to Alderwoods Group, Inc. and/or all of its
             predecessors, successors in interest, officers, directors, employees, agents, attorneys,
             parents, subsidiaries, divisions, affiliates, and/or any individual or entity acting on its
             behalf.


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  6-




       15.   The term "NEAL W. HIRSCHFELD" refers to attorney Neal W. Hirschfeld of the
             Greenspoon Marder law firm, and to any partners, shareholders, employees, associates,

             paralegals, secretaries, agents, and/or any individual or entity acting on his behalf or on
             behalf of the Greenspoon Marder law firm.
       16.   The term "STEVEN SINGER" refers to attorney Steven Singer and to any partners,
             shareholders, employees, associates, paralegals, secretaries, agents, and/or any individual
             or entity acting on his behalf or on behalf of the law firm with which Mr. Singer is
             associated.
       17.   The term "STEVEN OSBER" refers to attorney Steven Osber and to any partners,
             shareholders, employees, associates, paralegals, secretaries, agents, and/or any individual
             or entity acting on his behalf or on behalf of the law firm with which Mr. Osber is
             associated.
                                              INSTRUCTIONS
       1.    To the extent DOCUMENTS are being produced in the form in which they are kept
             during the normal course of business, exact duplicates need not be produced more than
             once. To the extent DOCUMENTS are bring produced in response to individual
             requests, produce all DOCUMENTS responsive to the 'Request. •To the extent
             DOCUMENTS have previously been produced, duplicates need not be produced so long
             as the responsive DOCUMENTS are identified by bates number.
       2.    if you claim that a DOCUMENT was lost or destroyed, for each DOCUMENT that you

             claim was lost or destroyed, state fully:
                           a. the date the DOCUMENT was created;
                           b. the author(s) of the DOCUMENT;
                           c. the title of the DOCUMENT;
                           d. a description of the DOCUMENT;
                           e. the number of pages of the DOCUMENT;
                           I the recipient(s) of the DOCUMENT; designated or otherwise;


                                                         4
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                       g. the name and address of the last known custodian of the DOCUMENT;

                       h. the date the DOCUMENT was lost or destroyed;
                       i. the reason for the destruction of the DOCUMENT, if known;

                       j. the name(s) and address(es) of any person(s) who have knowledge of any
                           facts surrounding the loss or destruction of the DOCUMENT.


                                      DOCUMENT REQUESTS


      REQUEST FOR PRODUCTION NO. 1:
             All DOCUMENTS RELATED TO or REFLECTING any COMMUNICATIONS
      between YOU and NEAL W. HIRSCHFELD during the time period January 1, 2008 to the
      present.


      REQUEST FOR PRODUCTION NO. 2:
             All DOCUMENTS RELATED TO or REFLECTING any COMMUNICATIONS
      between YOU AND STEVEN SINGER during the time period January I, 2008 to the present.


      REQUEST FOR PRODUCTION NO. 3:
             All DOCUMENTS RELATED TO or REFLECTING any COMMUNICATIONS
      between YOU AND STEVEN OSBER during the time period January 1, 2008 to the present.


      REQUEST FOR PRODUCTION NO. 4:
             All deposition transcripts and sworn statements from January I, 2008 to the present,
      which, relate in any way to STAR OF DAVID and/or conduct at STAR OF DAVID.




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         REQUEST FOR PRODUCTION NO. 5:
               All DOCUMENTS RELATED TO or REFLECTING the employment of Danny or
         Daniel Behrend..


         REQUEST FOR PRODUCTION NO 6:
               All DOCUMENTS RELATED TO or REFLECTING the employment of Alan
         Fogelman.


         REQUEST FOR PRODUCTION NO. 7:
               All DOCUMENTS RELATED TO or REFLECTING the employment of Edward
         Ashton.


         REQUEST FOR PRODUCTION NO. 8:
               All DOCUMENTS RELATED TO or REFLECTING the dumping of arty items
         (including but not limited to HUMAN REMAINS, BURIAL MERCHANDISE, and/or
         FUNERAL MERCHANDISE) in any body of water bordering, in whole or in part, STAR OF
         DAVID.


         REQUEST FOR PRODUCTION NO. 9:
               All DOCUMENTS RELATED TO or REFLECTING any work related travel by Steve
         Parker to Houston, Texas during the month of March 2012, including but not limited to all
         documents RELATED TO OR REFLECTING the purpose of the travel.


         REQUEST FOR PRODUCTION NO. 10:
     •   All DOCUMENTS RELATED TO or REFLECTING any allegation of, or inquiry into, missing
         or misplaced body parts, limbs and/or HUMAN REMAINS at STAR OF DAVID.




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      REQUEST FOR PRODUCTION NO. 11:
            All DOCUMENTS RELATED TO or REFLECTING any grave disturbances at STAR

      OF DAVID.


      REQUEST FOR PRODUCTION NO. 12:
            All DOCUMENTS RELATED TO or REFLECTING any OUTER BURIAL
      CONTAINER adjustments (e.g. "slide avers") at STAR OF DAVID.


      REQUEST FOR PRODUCTION NO. 13:
            All DOCUMENTS RELATED TO or REFLECTING any misplacement of, or improper
      internment of, HUMAN REMAINS at STAR OF DAVID,


      REQUEST FOR PRODUCTION NO. 14:
            All DOCUMENTS RELATED TO or REFLECTING any interment of Sidney or Betty
      Hyde, including but not limited to any COMMUNICATIONS regarding their HUMAN
      REMAINS.


      REQUEST FOR PRODUCTION NO. 15:
            All DOCUMENTS RELATED TO or REFLECTING any interment of Miriam Advokat,
      including but not limited to any COMMUNICATIONS regarding their HUMAN REMAINS.


      REQUEST FOR PRODUCTION NO. 16:
            All DOCUMENTS RELATED TO or REFLECTING YOUR acquisition of STAR OF
      DAVID, including but not limited to all due diligence related DOCUMENTS.




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      REQUEST FOR PRODUCTION NO. 17:
             All DOCUMENTS RELATED TO or REFLECTING any remediation efforts and/or
      remedial measures at STAR OF DAVID taken before April 5, 2012.


      REQUEST FOR PRODUCTION NO. 18:
             All movies or television shows permitted to be filmed at STAR OF DAVID during the
      time period January 1, 2008 to the present.


      REQUEST FOR PRODUCTION NO. 19:
             All DOCUMENTS RELATED TO or REFLECTING any movies or television shows
      permitted to be filmed at STAR OF DAVID during the time period January 1, 2008 to the
      present.


      REQUEST FOR PRODUCTION NO. 20:
             All closing DOCUMENTS RELATED TO or REFLECTING YOUR acquisition of
      ALDER WOODS, including all due diligence related DOCUMENTS.


      REQUEST FOR PRODUCTION NO. 21:
             All DOCUMENTS RELATED TO or REFLECTING any interviews of persons currently
      or formerly working at STAR OF DAVID RELATED TO OR REFLECTING allegations of
      misconduct, grave disturbances, OUTER BURIAL CONTAINER adjustments, and/or missing or
      misplaced HUMAN REMAINS.


      REQUEST FOR PRODUCTION NO. 22:
             All DOCUMENTS RELATED TO or REFLECTING or REFLECTING individuals
      interred in a GRAVE SPACE at STAR OF DAVID other than the GRAVE SPACE for which
      they purchased the BURIAL RIGHT, [Note: This request applies regardless of whether the


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      individual is still interred in a GRAVE SPACE other than the one for which he or she purchased

      the BURIAL RIGHT.]


      REQUEST FOR PRODUCTION NO. 23:
             All DOCUMENTS RELATED TO or REFLECTING or REFLECTING GRAVE
      SPACES at STAR OF DAVID for which the BURIAL RIGHT the GRAVE SPACE has been
      sold more than once.


      REQUEST FOR PRODUCTION NO. 24:
             All DOCUMENTS RELATED TO or REFLECTING or REFLECTING any presently
      unoccupied GRAVE SPACES at STAR OF DAVID where an OUTER BURIAL CONTAINER
      buried in an adjacent GRAVE SPACE is encroaching into the presently unoccupied GRAVE
      SPACE.


      REQUEST FOR PRODUCTION NO. 25:
             All DOCUMENTS RELATED TO or REFLECTING any occupied GRAVE SPACES at
                                                                     ,




      STAR OF DAVID where, prior to the GRAVE SPACE being occupied, an OUTER BURIAL
      CONTAINER buried in an adjacent GRAVE SPACE encroached into the now occupied
      GRAVE SPACE.


      REQUEST FOR PRODUCTION NO. 26:
             All DOCUMENTS RELATED TO or REFLECTING any DISINTERMENT performed
      at STAR OF DAVID without the consent of the LEGALLY AUTHORIZED PERSON.




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      REQUEST FOR PRODUCTION NO. 27:
             All DOCUMENTS RELATED TO or REFLECTING any OUTER BURIAL
      CONTAINER buried in the ground being moved at STAR OF DAVID without the consent of

      the LEGALLY AUTHORIZED PERSON.


      REQUEST FOR PRODUCTION NO. 28:
             All DOCUMENTS RELATED TO or REFLECTING any HUMAN REMAINS moved at
      STAR OF DAVID without the consent of the LEGALLY AUTHORIZED PERSON.


      REQUEST FOR PRODUCTION NO. 29:
             All DOCUMENTS RELATED TO or REFLECTING any OUTER BURIAL
      CONTAINER buried in the ground being moved to make room for new a interment at STAR OF
      DAVID. [Note: this includes OUTER BURIAL CONTAINERS moved any distance whatsoever
      and in any fashion and any direction, whether it be horizontally, vertically or otherwise.]


      REQUEST FOR PRODUCTION NO. 30:
             All DOCUMENTS RELATED TO or REFLECTING any OUTER BURIAL
      CONTAINER buried in the ground at STAR OF DAVID that was damaged in connection with
      performing a new interment.


      REQUEST FOR PRODUCTION NO. 31:
             All DOCUMENTS RELATED TO or REFLECTING HUMAN REMAINS buried at
      STAR OF DAVID where YOU do not presently know the identity of the deceased whose

      HUMAN REMAINS are buried at STAR OF DAVID.




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      REQUEST FOR PRODUCTION NO. 32:
              All DOCUMENTS RELATED TO or REFLECTING HUMAN REMAINS buried at
      STAR OF DAVID where YOU, for any period of time, did not know the identity of the deceased
      whose HUMAN REMAINS are buried, even if YOU now know that information.


      REQUEST FOR PRODUCTION NO. 33:
              All DOCUMENTS RELATED TO or REFLECTING BURIAL RIGHTS at the STAR
      OF DAVID where, for any reason whatsoever, the GRAVE SPACE for which the BURIAL
      RIGHT was purchased is not presently useable, including but not limited to GRAVE SPACES
      un-useable because someone is already interred in the GRAVE SPACE or an OUTER BURIAL
      CONTAINER from an adjacent GRAVE SPACE is encroaching into the GRAVE SPACE.


      REQUEST FOR PRODUCTION NO. 34:
              All DOCUMENTS RELATED TO or REFLECTING BURIAL RIGHTS at STAR OF
      DAVID where, for any reason whatsoever, the GRAVE SPACE for which the BURIAL RIGHT
      was purchased was not available at the time the individual holding the BURIAL RIGHT passed
      away.


      REQUEST FOR PRODUCTION NO. 35:
              All DOCUMENTS RELATED TO the training of individuals who currently and/or
      formerly work(ed) at STAR OF DAVID, including but not limited to all DOCUMENTS showing
      courses attended and/or completed. [Note: This request includes, but is not limited to, the
      training of YOUR employees and employees of HAUCK who work or worked at STAR OF

      DAVID.]




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       REQUEST FOR PRODUCTION NO. 36:
              All DOCUMENTS RELATED TO the training df individuals who currently and/or
       formerly work(ed) at STAR OF DAVID regarding internment verification, including but not
       limited to all DOCUMENTS showing courses attended and/or completed. [Note: This request
       includes, but is not limited to, the training of YOUR employees and employees of HAUCK who
       work or worked at STAR OF DAVID.]


       REQUEST FOR PRODUCTION NO 37:
              All . DOCUMENTS RELATED TO the any contracts or agreements with HAUCK to
       provide personnel or employees for work at STAR OF DAVID.


       REQUEST FOR PRODUCTION NO. 38:
              All DOCUMENTS RELATED TO Jerry Bruckheimer.


       REQUEST FOR PRODUCTION NO, 39:
              All DOCUMENTS RELATED TO or REFLECTING any COMMUNICATIONS
       between YOU and Jerry Bruckheimer and/or his agents or attorneys RELATED TO any
       interment.




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                                           * * *
             I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished for
      personal service/hand delivery this I day of April, 2012 to:

             SCI FUNERAL SERVICES OF FLORIDA, INC.
             do The Prentice-Hall Corporation System, inc.
             1201 Hays Street, Suite 105
             Tallahassee, FL 32301


                                                Edward M. Ricci, Esq.
                                                EDWARD M. RICCI, P.A.
                                                303 Banyan Boulevard
                                                Suite 400
                                                West Palm Beach, FL 33401
                                                Tele: 561-842-2820
                                                Fax: 561-844-6929


                                                By:
                                                       Edwar
                                                              A ApAAi
                                                                  . lc 1, sq.
                                                       Florida Bar No.: 185673
                                                      - Attorneys for Plaintiffs


              I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by U.S.
      Mail this 111h day of April, 2012 to:

      SERVICE CORPORATION INTERNATIONAL
      do Corporation Service Company DBA CSC — Lawyers Incorporating Service Company
      211 E. 7th Street, Suite 620
      Austin, TX 78701-3218

      ALDER WOODS GROUP, INC.
      do Corporation Service Company
      1201 Hays Street
      Tallahassee, FL 32301-2525

      MHI GROUP, INC.
      do Corporation Service Company
      1201 Hays Street
      Tallahassee, FL 32301-2525




                                                   13
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      FUNERAL SERVICES ACQUISITION GROUP
      do Corporation Service Company
      1201 Hays Street
      Tallahassee, FL 32301-2525

      FUNERAL SERVICES ACQUISITION GROUP, LLC
      do Corporation Service Company
      1201 Hays Street
      Tallahassee, FL 32301-2525

      HAUCk ENTERPRISES, LTD.
      do Agents and Corporations, Inc.
      300 Fifth Avenue South, Suite 101-330
      Naples, FL 34102

      RUSTY SCOTT
      5411 Okeechobee Boulevard
      West Palm Beach, Florida 33417


                                              Edward M. Ricci, Esq.
                                              EDWARD M. RICCI, P.A.
                                              303 Banyan Boulevard
                                              Suite 400
                                              West Palm Beach, FL 33401
                                              Tele: 561-842-2820
                                              Fax: 561-844-6929


                                              By:
                                                     Edward icci, E q.
                                                     Florida Bar No.: 185673
                                                    -Attorneys for Plaintiffs




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                                                          IN THE CIRCUIT COURT OF THE
                                                          15TH JUDICIAL CIRCUIT IN AND
                                                          FOR PALM BEACH COUNTY
                                                          FLORIDA

     DAVID ZINN, an individual, and MICHAEL                CASE NO: 2012CA006536AG
     GRAFF, an individual, on behalf of themselves
     and all others similarly situated,                   CLASS REPRESENTATION

                            Plaintiffs

     VS.


     SERVICE CORPORATION INTERNATIONAL,
     a Texas corporation; SCI FUNERAL SERVICES
     OF FLORIDA, INC., a Florida corporation;
     ALDERWOODS GROUP, INC., a Delaware
     corporation; MIII GROUP, INC., a Florida
     corporation; FUNERAL SERVICES
     ACQUISITION GROUT, ta Florida corporation;
     FUNERAL SERVICESACQUISITION GROUP,
     LLC, a Florida limited liability company;
     HAUCK ENTERPRISES, 'LTD., a Texas
     corporation; and RUSTY SCOTT, an individual.

                           Defendants.



                 PLAINTIFF DAVID ZINN'S FIRST REQUEST TO PRODUCE TO
                    DEFENDANT SERVICE CORPORATION INTERNATIONAL
            In accordance with Florida Rule of Civil Procedure 1.350, Plaintiff David Zinn, by and
     through his attorneys, demands that Defendant Service Corporation International produce the
     items and matters hereinafter set forth.
            YOUR ATTENTION IS INVITED TO THE REQUIREMENTS OF RULE 1.350
            WHEREIN THE PARTY TO WHOM THIS REQUEST IS DIRECTED IS REQUIRED

            TO SERVE A WRITTEN RESPONSE HERETO WITHIN 30 DAYS AFTER SERVICE
            OF TUE REQUEST, EXCEPT THAT A DEFENDANT MAY SERVE A RESPONSE
            WITHIN 45 DAYS AFTER SERVICE OF THE PROCESS AND INITIAL PLEADING


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             ON THAT DEFENDANT SUBJECT TO THE ALLOWANCE OF A SHORTER OR
             LONGER TIME BY THE COURT.
             IT IS REQUIRED THAT ALL COPIES OF ITEMS PRODUCED BE AT LEAST FULL

             SIZE (8 'A X 1 1 OR 8 'A X 14) AND LEGIBLE.


                                              DEFINITIONS
      The following definitions are applicable to these Requests to Produce:
       I.    The word "DOCUMENT(S)" is used in the broadest sense to include all forms of
             tangible expression, including, but not limited to, correspondence; written, typed,
             punched, encoded, printed, recorded, magnetic, graphics, or photographic material; or
             material transmitted by facsimile; mechanical recordings; sound or visual reproductions;
             drawings or sketches; or any other retrievable data or information, however stored,
             recorded or coded, whether by computer, electronically or some other means, including
             electronic mail, computer data bases, computer disks, computer diskettes or any other
             computer-generated or stored message, communications, writing or compilation.
       2.    The term "RELATED TO" and "REFLECTING" as used herein shall mean shall mean
             relating to, reflecting, evidencing, memorializing, referring, refuting, constituting,
             containing, discussing, describing, embodying, reflecting, identifying, mentioning,
             stating, and/or otherwise relating to in any way, in whole or in part, the subject matter
             referred to in the request.
       3.    The term "COMMUNICATION" as used herein shall mean and refer to any contact
             between two or more persons or entities including without limitation, correspondence or
             oral contact by such means as face-to-face or in-person meetings, telephone
             conversations, email, or any other form of electronic COMMUNICATION, and shall
             include, without limitation, written contacts by such means as any DOCUMENTS.
      4.     The terms "YOU" and "YOUR" as used herein shall refer to the Defendant SERVICE

             CORPORATION INTERNATIONAL, and/or all of its predecessors, successors in


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            interest, officers, directors, employees, agents, attorneys, parents, subsidiaries, divisions,
            affiliates, and/or any individual or entity acting on its behalf.

      5.    The term "HAUCK" as used herein shall refer to the Defendant HAUCK
            ENTERPRISES, LTD. and/or all of its predecessors, successors in interest, officers,
            directors, employees, agents, attorneys, parents, subsidiaries, divisions, affiliates, and/or
            any individual or entity acting on its behalf.
      6.    STAR OF DAVID refers to Star of David Memorial Gardens Cemetery and Funeral
            Chapel & Bailey Memorial Gardens located at 7701 Bailey Road, North Lauderdale,
            Florida.
      7.    The term "HUMAN REMAINS" as used herein shall having the same meaning as that set
            forth in Fla. Stat. § 497.005(38).
      8.    The terms "BURIAL MERCHANDISE" and "FUNERAL MERCHANDISE" shall have
            the same meaning as that set forth in Fla. Sta. § 497.005(6).
      9.    The term "BURIAL RIGHT" shall have the same meaning as that set forth in Fla. Sta. §
            497.005(7).
      10.   The term "GRAVE SPACE" shall have the same meaning as that set forth in Fla. Sta. §
            497.005(37).
      11.   The term "DISINTERMENT" shall have the same meaning as that set forth in Fla. Sta. §
            497.005(29).
      12.   The term "LEGALLY AUTHORIZED PERSON" shall have the same meaning as that
            set forth in Fla. Sta. § 497.005(39).
      13.   The term "OUTER BURIAL CONTAINER" and "OBC" shall have the same meaning as
            that set forth in Fla. Sta. § 497.005(50).
      14.   The term "ALDERWOODS" refers to Alderwoods Group, Inc. and/or all of its
            predecessors, successors in interest, officers, directors, employees, agents, attorneys,
            parents, subsidiaries, divisions, affiliates, and/or any individual or entity acting on its
            behalf.


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      15.   The term "NEAL W. HIRSCHFELD" refers to attorney Neal W. Hirschfeld of the
            Greenspoon Marder law firm, and to any partners, shareholders, employees, associates,
            paralegals, secretaries, agents, and/or any individual or entity acting on his behalf or on
            behalf of the Greenspoon Marder law firm.

      16.   The term "STEVEN SINGER" refers to attorney Steven Singer and to any partners,
            shareholders, employees, associates, paralegals, secretaries, agents, and/or any individual
            or entity acting on his behalf or on behalf of the law firm with which Mr. Singer is
            associated.
      17.   The term "STEVEN OSBER" refers to attorney Steven Osber and to any partners,
            shareholders, employees, associates, paralegals, secretaries, agents, and/or any individual
            or entity acting on his behalf or on behalf of the law firm with which Mr. Osber is
            associated.
                                             INSTRUCTIONS
       I.   To the extent DOCUMENTS are being produced in the form in which they are kept
            during the normal course of business, exact duplicates need not be produced more than
            once. To the extent DOCUMENTS are bring produced in response to individual
            requests, produce all DOCUMENTS responsive to the Request. To the extent
            DOCUMENTS have previously been produced, duplicates need not be produced so long
            as the responsive DOCUMENTS are identified by bates number.
      2.    If you claim that a DOCUMENT was lost or destroyed, for each DOCUMENT that you
            claim was lost or destroyed, state fully:
                          a. the date the DOCUMENT was created;
                          b. the author(s) of the DOCUMENT;

                          c. the title of the DOCUMENT;
                          d. a description of the DOCUMENT;
                          e. the number of pages of the DOCUMENT;
                          f. the recipient(s) of the DOCUMENT; designated or otherwise;


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                        g. the name and address of the last known custodian of the DOCUMENT;
                        h. the date the DOCUMENT was lost or destroyed;
                        i. the reason for the destruction of the DOCUMENT, if known;
                       j. the name(s) and address(es) of any person(s) who have knowledge of any
                           facts surrounding the loss or destruction of the DOCUMENT.


                                      DOCUMENT REQUESTS


      REQUEST FOR PRODUCTION NO. 1:
             All DOCUMENTS RELATED TO or REFLECTING any COMMUNICATIONS
      between YOU and NEAL W. HIRSCHFELD during the time period January 1, 2008 to the
      present.


      REQUEST FOR PRODUCTION NO. 2:
             All DOCUMENTS RELATED TO or REFLECTING any COMMUNICATIONS
      between YOU AND STEVEN SINGER during the time period January 1, 2008 to the present.


      REQUEST FOR PRODUCTION NO. 3:
                 All DOCUMENTS RELATED TO or REFLECTING any COMMUNICATIONS
      between YOU AND STEVEN OSBER during the time period January 1, 2008 to the present.


      REQUEST FOR PRODUCTION NO. 4:
             All deposition transcripts and sworn statements from January I, 2008 to the present,
      which relate in any way to STAR OF DAVID and/or conduct at STAR OF DAVID.




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          REQUEST FOR PRODUCTION NO. 5:

                All DOCUMENTS RELATED TO or REFLECTING the employment of Danny or

          Daniel Behrend.


          REQUEST FOR PRODUCTION NO. 6:

                All DOCUMENTS RELATED TO or REFLECTING the employment of Alan
          Fogelman.


          REQUEST FOR PRODUCTION NO. 7:

                 All DOCUMENTS RELATED TO or REFLECTING the employment of Edward
      •   Ashton.


          REQUEST FOR PRODUCTION NO. 8:

                    All DOCUMENTS RELATED TO or REFLECTING the dumping of any items
          (including but not. limited to HUMAN REMAINS, BURIAL MERCHANDISE, and/or
          FUNERAL MERCHANDISE) in any body of water bordering, in whole or in part, STAR OF
          DAVID.


          REQUEST FOR PRODUCTION NO. 9:
                    All DOCUMENTS RELATED TO or REFLECTING any work related travel by Steve
          Parker to Houston, Texas during the month of March 2012, including but not limited to all
          documents RELATED TO OR REFLECTING the purpose of the travel.


          REQUEST FOR PRODUCTION NO. 10:

          All DOCUMENTS RELATED TO or REFLECTING any allegation of, or inquiry into, missing
          or misplaced body parts, limbs and/or HUMAN REMAINS at STAR OF DAVID.




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      REQUEST FOR PRODUCTION NO. 11:
             MI DOCUMENTS RELATED TO or REFLECTING any grave disturbances at STAR

      OF DAVID.


      REQUEST FOR PRODUCTION NO. 12:
             All DOCUMENTS RELATED TO or REFLECTING any OUTER BURIAL
      CONTAINER adjustments (e.g. "slide overs") at STAR OF DAVID.


      REQUEST FOR PRODUCTION NO. 13:
             All DOCUMENTS RELATED TO or REFLECTING any misplacement of, or improper
       internment of, HUMAN REMAINS at STAR OF DAVID.


      REQUEST FOR PRODUCTION NO. 14:
             All DOCUMENTS RELATED TO or REFLECTING any interment of Sidney or Betty
      Hyde, including but not limited to any COMMUNICATIONS regarding their HUMAN
      REMAINS.


      REQUEST FOR PRODUCTION NO. 15:
             All DOCUMENTS RELATED TO or REFLECTING any interment of Miriam Advokat,
      including but not limited to any COMMUNICATIONS regarding their HUMAN REMAINS.



      REQUEST FOR PRODUCTION NO. 16:
             All DOCUMENTS RELATED TO or REFLECTING YOUR acquisition of STAR OF
      DAVID, including but not limited to all due diligence related DOCUMENTS.




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       REQUEST FOR PRODUCTION NO. 17:
                  All DOCUMENTS RELATED TO or REFLECTING any remediation efforts and/or
       remedial measures at STAR OF DAVID taken before April 5, 2012.


       REQUEST FOR PRODUCTION NO. 18:
                  All movies or television shows permitted to be filmed at STAR OF DAVID during the
       time period January I, 2008 to the present.


       REQUEST FOR PRODUCTION NO. 19:
              All DOCUMENTS RELATED TO or REFLECTING any movies or television shows
       permitted to be filmed at STAR OF DAVID during the time period January I, _2008 to the
       present.


       REQUEST FOR PRODUCTION NO. 20:
              All closing DOCUMENTS RELATED TO or REFLECTING YOUR acquisition of
       ALDER WOODS, including all due diligence related DOCUMENTS.


       REQUEST FOR PRODUCTION NO. 21:
              All DOCUMENTS RELATED TO or REFLECTING any interviews of persons currently
       or formerly working at STAR OF DAVID RELATED TO OR REFLECTING allegations of
       misconduct, grave disturbances, OUTER BURIAL CONTAINER adjustments, and/or missing or
       misplaced HUMAN REMAINS,


       REQUEST FOR PRODUCTION NO. 22:
              All DOCUMENTS RELATED TO or REFLECTING or REFLECTING individuals
       interred in a GRAVE SPACE at STAR OF DAVID other than the GRAVE SPACE for which
       they purchased the BURIAL RIGHT. [Note: This request applies regardless of whether the


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      individual is still interred in a GRAVE SPACE other than the one for which he or she purchased
      the BURIAL RIGHT.]



      REQUEST FOR PRODUCTION NO. 23:
             All DOCUMENTS RELATED TO or REFLECTING or REFLECTING GRAVE
      SPACES at STAR OF DAVID for which the BURIAL RIGHT the GRAVE SPACE has been
      sold more than once.


      REQUEST FOR PRODUCTION NO. 24:
             All DOCUMENTS RELATED TO or REFLECTING or REFLECTING any presently
      unoccupied GRAVE SPACES at STAR OF DAVID where an OUTER BURIAL CONTAINER
      buried in an adjacent GRAVE SPACE is encroaching into the presently unoccupied GRAVE
      SPACE.


      REQUEST FOR PRODUCTION NO. 25:
             All DOCUMENTS RELATED TO or REFLECTING any occupied GRAVE SPACES at
      STAR OF DAVID where, prior to the GRAVE SPACE being occupied, an OUTER BURIAL
      CONTAINER buried in an adjacent GRAVE SPACE encroached into the now occupied
      GRAVE SPACE.


      REQUEST FOR PRODUCTION NO. 26:
             All DOCUMENTS RELATED TO or REFLECTING any DISINTERMENT performed

      at STAR OF DAVID without the consent of the LEGALLY AUTHORIZED PERSON.




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      REQUEST FOR PRODUCTION NO. 27:
             All DOCUMENTS RELATED TO or REFLECTING any OUTER BURIAL

      CONTAINER buried in the ground being moved at STAR OF DAVID without the consent of

      the LEGALLY AUTHORIZED PERSON.


      REQUEST FOR PRODUCTION NO. 28:
             All DOCUMENTS RELATED TO or REFLECTING any HUMAN REMAINS moved at
      STAR OF DAVID without the consent of the LEGALLY AUTHORIZED PERSON.


      REQUEST FOR PRODUCTION NO. 29:
             All DOCUMENTS RELATED TO or REFLECTING any OUTER BURIAL
      CONTAINER buried in the ground being moved to make room for new a interment at STAR OF
      DAVID. [Note: this includes OUTER BURIAL CONTAINERS moved any distance whatsoever
      and in any fashion and any direction, whether it be horizontally, vertically or otherwise.]


      REQUEST FOR PRODUCTION NO. 30:
             All DOCUMENTS RELATED TO or REFLECTING any OUTER                                       BURIAL
      CONTAINER buried in the ground at STAR OF DAVID that was damaged in connection with
      performing a new interment.


      REQUEST FOR PRODUCTION NO. 31:
             All DOCUMENTS RELATED TO or REFLECTING HUMAN REMAINS buried at
      STAR OF DAVID where YOU do not presently know the identity of the deceased whose
      HUMAN REMAINS are buried at STAR OF DAVID.




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      REQUEST FOR PRODUCTION NO. 32:
              All DOCUMENTS RELATED TO or REFLECTING HUMAN REMAINS buried at
      STAR OF DAVID where YOU, for any period of time, did not know the identity of the deceased
      whose HUMAN REMAINS are buried, even if YOU now know that information.


      REQUEST FOR PRODUCTION NO. 33:
              Al! DOCUMENTS RELATED TO or REFLECTING BURIAL RIGHTS at the STAR
      OF DAVID where, for any reason whatsoever, the GRAVE SPACE for which the BURIAL
       RIGHT was purchased is not presently useable, including but not limited to GRAVE SPACES
       un-useable because someone is already interred in the GRAVE SPACE or an OUTER BURIAL
      CONTAINER from an adjacent GRAVE SPACE is encroaching into the GRAVE SPACE.


      REQ UEST FOR PRODUCTION NO. 34:
              A ll DOCUMENTS RELATED TO or REFLECTING BURIAL RIGHTS at STAR OF
      DAVID where, for any reason whatsoever, the GRAVE SPACE for which the BURIAL RIGHT
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      REQ UEST FOR PRODUCTION NO. 35:
              All DOCUMENTS. RELATED TO the training of individuals who currently and/or
       formerly work(ed) at STAR OF DAVID, including but not limited to all DOCUMENTS showing
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       training of YOUR employees and employees of HAUCK who work or worked at STAR OF

       DAVID.]
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      REQUEST FOR PRODUCTION NO. 36:
             All DOCUMENTS RELATED TO the training of individuals who currently and/or
      formerly work(ed) at STAR OF DAVID regarding internment verification, including but not
      limited to all DOCUMENTS showing courses attended and/or completed. [Note: This request
      includes, but is not limited to, the ttaining of YOUR employees and employees of HAUCK who
      work or worked at STAR OF DAVID.]


      REQUEST FOR PRODUCTION NO. 37:
             All DOCUMENTS RELATED TO the any contracts or agreements with HAUCK to
      provide personnel or employees for work at STAR OF DAVID.


      REQUEST FOR PRODUCTION NO. 38:
             Al l DOCUMENTS RELATED TO Jerry Bruckheimer.


      REQUEST FOR PRODUCTION NO. 39:
             All DOCUMENTS RELATED TO or REFLECTING any COMMUNICATIONS
      between YOU and Jerry Brucltheimer and/or his agents or attorneys RELATED TO any
      interment.




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Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 49 of 78

      ,•.




                                             * * *

              I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished for
       personal service/hand delivery this 11 th day of April, 2012 to:

               SERVICE CORPORATION INTERNATIONAL
               do Corporation Service Company DBA CSC — Lawyers Incorporating Service Company
               211 E. 7th Street, Suite 620
               Austin, TX 78701-3218



                                                  Edward M. Ricci, Esq.
                                                  EDWARD M. RICCI, P.A.
                                                  303 Banyan Boulevard
                                                  Suite 400
                                                  West Palm Beach, FL 33401
                                                  Tele: 561-842-2820
                                                  Fax: 561-844-6929


                                                   By:
                                                         Edward M. , s
                                                         Florida Bar No.: 185673
                                                         Attorneys for Plaintiffs


                1 HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by U.S.
        Mail this 11 th day of April, 2012 to:

       SCI FUNERAL SERVICES OF FLORIDA, INC.
       do The Prentice-Hall Corporation System, Inc.
       1201 Hays Street, Suite 105 -
       Tallahassee. FL 32301

       ALDER WOODS GROUP, INC.
       do Corporation Service Company
       1201 Hays Street
       Tallahassee, FL.32301-2525

       MHI GROUP, INC. -
       do Corporation Service Company
       1201 Hays Street
       Tallahassee, FL 32301-2525




                                                     13
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      FUNERAL SERVICES ACQUISITION GROUP
      do Corporation Service Company
      1201 Hays Street
      Tallahassee, FL 32301-2525

      FUNERAL SERVICES ACQUISITION GROUP, LLC
      c/o Corporation Service Company
      1201 Hays Street
      Tallahassee, FL 32301-2525

      HAUCK ENTERPRISES, LTD.
      do Agents and Corporations, Inc.
      300 Fifth Avenue South, Suite 101-330
      Naples, FL 34102

      RUSTY SCOTT
      5411 Okeechobee Boulevard
      West Palm Beach, Florida 33417


                                              Edward M. Ricci, Esq.
                                              EDWARD M. RICCI, P.A.
                                              303 Banyan Boulevard
                                              Suite 400
                                              West Palm Beach, FL 33401
                                              Tele: 561-842-2820
                                              Fax: 561-844-6929
                                                                        ,




                                              By:
                                                    Edward       lect, q
                                                    Florida Bar No.: 185673
                                                    Attorneys for Plaintiffs




                                                14
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 51 of 78




                                                            IN THE CIRCUIT COURT OF THF.
                                                            15TH JUDICIAL CIRCUIT LN AND
                                                            FOR PALM BEACH COUNTY
                                                            FLORIDA

         DAVID ZINN, an individual, and MICHAEL CASE NO: 2012CA006536AG
         GRAFF, an individual, on behalf of themselves
         and all others similarly situated,            CLASS REPRESENTATION

                             Plaintiffs,

         V S.


         SERVICE CORPORATION
         INTERNATIONAL, a Texas corporation; SCI
         FUNERAL SERVICES OF FLORIDA, INC., a
         Florida corporation; ALDERWOODS
         GROUP, INC., a Delaware corporation; AIM
         GROUP, INC., a Florida corporation;
         FUNERAL SERVICES ACQUISITION
         GROUP, a Florida corporation; FUNERAL
         SERVICES ACQUISITION GROUP, LLC, a
         Florida limited liability company; HAUCK
         ENTERPRISES, LTD., a Texas corporation;
         and RUSTY SCOTT, an individual.

                            Defendants.



                  VERIFIED MOTION FOR ADMISSION TO APPEAR PRO HAC VICE
                PURSUANT TO FLORIDA RULE OF JUDICIAL ADMINISTRATION 2.510

                 Comes now, Michael J. Avena-di, Movant herein, and respectfully represents the
          following:
                 1.     Movant resides in Newport Beach, California. Movant is not a resident of the
                        State of Florida.




                                                                                                       NA
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 52 of 78




               2.   Movant is an attorney and a member of the law firm Eagan Avenatti, LLP, with
                    offices at 450 Newport Center Drive, Second Floor, Newport Beach, CA 92660,
                    (949) 706-7000.
               3.   Movant was retained personally or as a member of the above named law firm
                    within the last ninety (90) days by Plaintiffs to provide legal representation in
                    connection with the above-styled matter now pending before the above-named
                    court of the State of Florida.
               4.   Movant is an active member in good standing and currently eligible to practice
                    law in the following jurisdiction(s):
                            State of California (Bar No. 206929)
                            U.S. District Court for the Central District of California
                            U.S. District Court for the Northern District of California
                            U.S. District Court for the Southern District of California
                            U.S. Court of Appeals, Sixth Circuit
                            U.S. Court of Appeals, Ninth Circuit
               5.   There are no disciplinary proceeding pending against Movant, except as provided
                    below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                    of the violation and the sanction, if any, imposed):           N/A
               6.   Within the past five (5) years, Movant has not been subject to any disciplinary
                    proceedings, except as provided below (give jurisdiction of disciplinary action,
                    date of disciplinary action, nature of the violation and the sanction, if any,
                    imposed):       N/A
               7.   Movant has never been subject to any suspension proceedings, except as provided
                    below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                    of the violation and the sanction, if any, imposed):           N/A
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 53 of 78




               8.    Movant has never been subject to any disbarment proceedings, except as provided
                     below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                     of the violation and the sanction, if any, imposed):         N/A
               9.    Movant, either by resignation, withdrawal, or otherwise, never has terminated or
                     attempted to terminate Ivlovant's office as an attorney in order to avoid
                     administrative disciplinary, disbarment, or suspension proceedings. .
               10.   Movant is not an inactive member of The Florida Bar.
               11.   Movant is not now a member of The Florida Bar.
               12.   Movant is not a suspended member of The Florida Bar.
               13.   Movant is not a disbarred member of The Florida Bar nor has Movant received a
                     disciplinary resignation from The Florida Bar.
               14.   Movant has not previously been disciplined or held in contempt by reason of
                     misconduct committed while engaged in representation pursuant to Florida Rule
                     of Judicial Administration 2.510, except as provided below (give date of
                     disciplinary action or contempt, reason therefore and court imposing contempt):
                            NIA
               15.   Movant has filed motion(s) to appear as counsel in Florida state courts during the
                     past five (5) years in the following matters:
               Date of Motion        Case Name Case Number Court Motion granted/Denied
                             None (Counsel last filed such a motion on October 7, 2005)

               16.    Local counsel of record associated with Movant in this matter is Edward M.

                      Ricci, Edward M. Ricci, P.A., Bar No. 185673, who is an active member in good

                      standing of The Florida Bar and has offices at 303 Banyan Blvd., Suite 400, West

                      Palm Beach, FL 33401 (if local counsel is not an active member of The Florida
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 54 of 78




                     Bar in good standing, please provide information as to local counsel's

                     membership status.)

               17.   Movant has read the applicable provisions of Florida Rule of Judicial

                     Administration 2.510 and Rule 1-3.10 of the Rules Regulating The Florida Bar

                     and certifies that this verified motion complies with those rules

               18.   Movant agrees to comply with the provisions of the Florida Rules of Professional

                     Conduct and consents to the jurisdiction of the courts and the Bar of the State of

                     Florida.
                     WBEREFORE, Movant respectfully requests permission to appear in this court

                     for this case only.

                             DATED this I O11&...     -   day Of Ap


                                                             Michael J. venatti
                                                             Eagan Avenatti, LLP
                                                             450 Newport Center Drive, Second Floor
                                                             Newport Beach, CA 92660
                                                             Tel. (949) 706-7000
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 55 of 78




         STATE OF CALIFORNIA

         COUNTY OF ORANGE



            . I, Michael J. Avenatti, do hereby swear or affirm under penalty of perjury that I     am the
         Movant in the above-styled matter; that I have read the foregoing Motion and know the contents

         thereof; and the contents are true of my own knowledge ' I, belief

                                                          mama.'



                                                     Mic-hae T5 Avert"



                The foregoing instrument was acknowledged before me this             •   day of April, 201/ by

         Michael J. Avenatti who is personally known to me and who did take an oath.



                                                            day of April 2012.


                                                     Notary Public (Signature    )




                                                         gilt+74k, KbiA tnit) (4
                                                                              14k4
                                                     Printed Name
                                                     Commission Number: I                0114

                                                     My commission expires:
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 56 of 78




                  I hereby consent to be associated as local counsel of record in this cause pursuant to

           Florida Rule of Judicial Administration 2310,



                  DATED this         it    day of   firig            , 2012.



                                                                       ,WV
                                                       Edward M. Ricci
                                                       Edward M. Ricci, P.A.
                                                       303 Banyan Blvd., Suite 400
                                                       West Palm Beach, FL 33401
                                                       Tel. (561) 842-2820
                                                       Florida Bar Number: 185673
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 57 of 78




                                         CERI.IbICAlb OF SERVICE

                 I HEREBY CERIIPY that a true and correct copy of the foregoing motion was furnished

          by U.S. Mail to HIV Admissions, The Florida Bar, 651 East Jefferson Street, Tallahassee,

          Florida 32399-2333 accompanied by payment of the $250.00 filing fee made payable to The

          Florida Bar and to:

          SERVICE CORPORATION INTERNATIONAL
          c/o Corporation Service Coinpany DBA CSC — Lawyers Incorporating Service Company
          211 E. 7th Street, Suite 620
          Austin, TX 78701-3218

          SCI FUNERAL SERVICES OF FLORIDA, INC.
          c/o The Prentice-Hall Corporation. System, Inc.
          1201 Hays Street, Suite 105
          Tallahassee, FL 32301

          ALDERWOODS GROUP, INC.
          c/o Corporation Service Company
          1201 Hays Street
          Tallahassee, FL 32301-2525

          MHI GROUP, INC.
          do Corporation Service Company
          1201 Hays Street
          Tallahassee, FL 32301-2525

          FUNERAL SERVICES ACQUISITION GROUP
          do Corporation Service Company
          1201 Hays Street
          Tallahassee, FL 32301-2525

          FUNERAL SERVICES ACQUISITION GROUP, LLC
          do Corporation Service Company
          1201 Hays Street
          Tallahassee, FL 32301-2525

          HAUCK ENTERPRISES, LTD.
          c/o Agents and Corporations, Inc.
          300 Fifth Avenue South, Suite 101-330
          Naples, FL 34102
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 58 of 78




         RUSTY SCOTT
         5411 Okeechobee Boulevard
         West Palm Beach, Florida 33417



               DATED this                 day of
                                                            v   .,
                                                                     11 , 2012.



                                                   Michael J • venattille s
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 59 of 78




          CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT
          vs...a...54444A                                                                                                             114(.4......aa..,Vai-
                                                                                                                                                         •



          State of California

          County of               If
          On    4'1              )2.
                              Date     '
                                                     before me,         Otill114's 414/13g) /
                                                                                     Here ha N a allele of the Ofter
                                                                                                                                                              gmfiL,
          personally appeared                        (am/                    ci                    Narne(s) of larter(s)




                                                                                      who proved to nie on the basis of satisfactory evidence to
                                                                                      be the person whose nameX is/a&(..subscribed to the
                                                                                      within instrument and acknowledged to me that
                                                                                      he/s14..N1- executed the same in hisiftecraWr authorized
                                                                                      capacity( and that by hisRlea< signatureKon the
                                     MARITZA NOWOWIEJSK1                              instrument the persont& or the entity upon behalf of
                                     Commission* 1811088
                                     Notary Public California
                                                    -
                                                                                      which the person(, acted, executed the instrument.
                                          Oran* Coolly
                                     Comm. E       ia2L2012                               certify under PENALTY OF PERJURY under the laws
                                                                                        of the State of California that the foregoing paragraph is
                                                                                        true and correc

                                                                                        WITNESS m hridnd °Hide

                                                                                      Signatur
                               Face Malary Seal Above                                                                           goatee at !Wary Pub

                                                                            OPTIONAL
                Thoulh the information below is not required by law, it may prove valuable to persons relying -On the document
                             and could prevent fraudulent removal and reattachment of this form to another doournent

          Description of Attached
                                13ocument      1                               ,„,    A
          Title or Type of Document                frtatilpillint7W gbUitiY. -41-11 4t) 400_
           Document Date:               10. ifZ--  41'                                                         Number of Pages:
                                                                                                              /72                                     4 6
          Signer(s) Other Than Named Above: 6/14A3/71 ,                                          /1/1 -
           Capacity(tes) Claimed by Signer(s)

          Sign rs Name:         14/) Oita                     AIRM-A1147.                    Signers Name:
             Individual                                                                      0 Individual
          O Corporate Officer — Title(s):                                                    0 Corporate Officer —
          O Partner —0 Limited 0 General                        ,RIGHT-THIMISI PAINT.
                                                                                             0 Partner —0 Limited 0 General                                   RtGHTTilUVEPRiNT
          O Attorney in Fact                                    ,7-2-V'ORSIONE.Fr            0 Attorney in Fact                                                     SIGN izt
                                                                  Top et thumb here                                                                           Top oi thumb here
          O Trustee                                                                          0 Trustee
          U Guardian or Conservator                                                          0 Guardian or Conservator
          o Other:                                                                           0 Other:

           Signer Is Representing:                                                           Signer Is Representing -


           ,

          tY2oe7 Natiznal Notary Ass athaliOn •950 ba Soto Ave - , Ra Ba4 2402- Cheisworga, CA Ma 3.2402. www.Nationallotary.ore born 45907 RAarelei: Cal Toll -Free 1.800-M,S827
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 60 of 78




                                                           IN THE CIRCUIT COURT OF THE
                                                           15TH JUDICIAL CIRCUIT IN AND
                                                           FOR PALM BEACH COUNTY
                                                           FLORIDA

         DAVID ZINN, an individual, and MICHAEL CASE NO: 2012CA006536AG
         GRAFF, an individual, on behalf of themselves
         and all others similarly situated,            CLASS REPRESENTATION

                          Plaintiffs,

         vs.

         SERVICE CORPORATION
         INTERNATIONAL, a Texas corporation; SCI
         FUNERAL SERVICES OF FLORIDA, INC., a
         Florida corporation; ALDERWOODS
         GROUP, INC., a Delaware corporation; 1VIHI
         GROUP, INC., a Florida corporation;
         FUNERAL SERVICES ACQUISITION
         GROUP, a Florida corporation; FUNERAL
         SERVICES ACQUISITION GROUP, LLC, a
         Florida limited liability company; HAUCK
         ENTERPRISES, LTD., a Texas corporation;
         and RUSTY SCOTT, an individual..

                         Defendants.



                 VERIFIED MOTION FOR ADMISSION TO APPEAR PRO //AC VICE
               PURSUANT TO FLORIDA RULE OF JUDICIAL ADMINISTRATION 2.510


               Comes now, Jason M. Frank, Movant herein, and respectfully represents the following:

                1.    Movant resides in Playa del Rey, California. Movant is not a resident of the State
                      of Florida.
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 61 of 78




               2.   Movant is an attorney and a member of the law firm Eagan Avenatti, LLP, with
                    offices at 450 Newport Center Drive, Second Floor, Newport Beach, CA 92660,
                    (949) 706-7000.
               3.   Movant was retained personally or as a member of the above named law firm
                    • within the last ninety (90) days by Plaintiffs to provide legal representation in
                    connection with the above-styled matter now pending before the above-named
                    court of the State of Florida.
               4.   Movant is an active member in good standing and currently eligible to practice
                     law in the following jurisdiction(s):
                            State of California (Bar No. 190957)
                            U.S. District Court for the Central District of California
                            U.S. District Court for the Northern District of California
                            U.S. District Court for the Eastern District of Michigan
                            U.S. District Court for the Eastern District of Wisconsin
               5.    There are no disciplinary proceeding pending against Movant, except as provided
                     below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                     of the violation and the sanction, if any, imposed):          N/A
               6.    Within the past five (5) years, Movant has not been subject to any disciplinary
                     proceedings, except as provided below (give jurisdiction of disciplinary action,
                     date of disciplinary action, nature of the violation and the sanction, if any,
                     imposed):      N/A
               7.    Movant has never been subject to any suspension proceedings, except as provided
                     below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                     of the violation and the sanction, if any, imposed):          N/A
               8.    Movant has never been subject to any disbarment proceedings, except as provided
                     below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                     of the violation and the sanction, if any, imposed):          N/A
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 62 of 78




               9.    Movant, either by resignation, withdrawal, or otherwise, never has terminated or
                     attempted to terminate Movant's office as an attorney in order to avoid
                     administrative disciplinary, disbarment, or suspension proceedings.
               10.   Movant is not an inactive member of The Florida Bar.
               11.   Ivlovant is not now a member of The Florida Bar.
               12.   Movant is not a suspended member of The Florida Bar.
               13.   Movant is not a disbarred member of The Florida Bar nor has Movant received a
                     disciplinary resignation from The Florida Bar.
               14.   Mov ant has not previously been disciplined or, held in contempt by reason of
                     misconduct committed while engaged in representation pursuant to Florida Rule
                     of Judicial Administration 1510, except as provided below (give date of
                     disciplinary action or contempt, reason therefore and court imposing .contempt):
                            N/A
               15.   Movant has filed motion(s) to appear as counSel in Florida state courts during the
                     past five (5) years in the following matters:
               Date of Motion       Case Name Case Number Court Motion granted/Denied
                             None


               16.   Local counsel of record associated with Movant in this matter is Edward M.

                     Ricci, Edward M. Ricci, P.A., Bar No. 185673, who is an active member in good

                      standing of The Florida Bar and has offices at 303 Banyan Blvd., Suite 400, West

                     Palm Beach, FL 33401 (if local counsel is not an active member of The Florida

                      Bar in good standing, please provide information as to local counsel's

                      membership status.)
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 63 of 78




              17.   Movant has read the applicable provisions of Florida Rule of Judicial

                    Administration 2.510 and Rule 1-3.10 of the Rules Regulating The Florida Bar

                    and certifies that this verified motion complies with those rules.

              18.   Movant agrees to comply with the provisions of the Florida Rules of Professional

                    Conduct and consents to the jurisdiction of the courts and the Bar of the State of

                    Florida.

                    WHEREFORE, Movant respectfully requests permission to appear in this court

                    for this case only.

                            DATED this         0       day of .A! [.2012.



                                                           Jaso   at*
                                                           Ea Avnath,LLP
                                                           45f   art Center Drive, Second Floor
                                                           Newport Beach, CA 92660
                                                           Tel. (949) 706-7000
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 64 of 78




         STATE OF CALIFORNIA

         COUNTY OF ORANGE



                I, Jason M. Frank, do hereby swear or affimi under penalty pipet-jury that I am the

         Movant in the above-styled matter; that I have read the foregoing Motion and know the contents

         thereof, and the contents are true of my own knowledg d belief.




                The foregoing instrument was acknowledged before me this            day of April, 2012 by

        ' Jason M. Frank who is personally known to me and who did take an oath.



                                                            day of April 2012.

                                                          ee/   ovf)-xemeit. tev-hALke/
                                                     Notary Public (Signature)

                                                     V4/1-710k-, 1\\ 0-1100 )/1‘
                                                     Printed Name
                                                     Commission Num,ber: 1/151 1 A/6

                                                     My commission expires:       eolz6liz.
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 65 of 78




                  1 hereby consent to be associated as local counsel of record in this cause pursuant to

           Florida Rule of Judicial Administration 2.510.



                  DATED this        YL. day of                        , 2012.




                                                        Edward M. Ricci
                                                        Edward M. Ricci, PA.
                                                        303 Banyan Blvd., Suite 400
                                                        West Palm Beach, FL 33401
                                                        Tel. (561) 842-2820
                                                        Florida Bar Number: 185673
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 66 of 78




                                         CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that a true and correct copy of the foregoing motion was furnished

          by U.S. Mail to PHV Admissions, The Florida Bar, 651 East Jefferson Street, Tallahassee,

          Florida 32399-2333 accompanied by payment of the $250.00 filing fee made payable to The

          Florida Bar and to:

          SERVICE CORPORATION INTERNATIONAL
          do Corporation Service Company DBA CSC — Lawyers Incorporating Service Company
          211 E. 7th Street, Suite 620
          Austin, TX 78701-3218

           SCI FUNERAL SERVICES OF FLORIDA, INC.
          c/o The Prentice-Hall Corporation System, Inc.
         , 1201 Hays Street, Suite 105
          Tallahassee, FL 32301

          ALDERWOODS GROUP, INC.
          c/o Corporation Service Company
          1201 Hays Street
          Tallahassee, FL 32301-2525

          NMI GROUP, INC.
          c/o Corporation Service Company
          1201 Hays Street
          Tallahassee, FL 32301-2525

          FUNERAL SERVICES ACQUISITION GROUP
          do Corporation Service Company
          1201 Hays Street
          Tallahassee, FL 32301-2525

          FUNERAL SERVICES ACQUISITION GROUP, LLC
          c/a Corporation Service Company
          1201 Hays Street
          Tallahassee, FL 32301-2525

          HAUCK ENTERPRISES, LTD.
          c/o Agents and Corporations, Inc.
          300 Fifth Avenue South, Suite 101-330
          Naples, FL 34102
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 67 of 78




          RUSTY SCOTT
          5411 Okeechobee Boulevard
          West Palm Beach, Florida 33417

                                              —
           •
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 68 of 78




          CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT

          State of California

          County of

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                                                     before me,  661/1471g, N /VOA n • A . I N DIAllfHere         4ma and rile of the Mow
                                                                                                                                                     'Fi                  /
          . personally appeared                               e9uYi.                             Narne(s) of Eagner(s)




                                                                                    who proved tO me on the basis of satisfactory evidence to
                                                                                    be the person$whose nametXisiar4-subscribed to the
                                                                                    within instrument and acknowledged to me that
                                                                                    heisi‘tfleecuted the same in hisitil4frrg authorized
                                  MARITZA NOWONEJSKI                                capacity(' and that by hisAfirfrpg.r sign atureKon the
                                  Commission #1811058
                                  Notary Pubk-Catiforola                            instrument the person, or the entity upon behalf of
                                      Grano County       -                          which the person acted, executed the instrument.
               iv                 Cr                iCiata
                                                                                    I certify under PENALTY OF PERJURY under the laws
                                                                                    of the State of California that the foregoing paragraph is
                                                                                    true and corre

                                                                                    WITNESS m                               ifi 'al se

                                                                                    Signature
                               Place Notary Seal /lava                                                                    Signature of Notary Public

                                                                          OPTIONAL
                 Though the information be-low is not required bylaw, it may prove valuable to persons relying on the document
                          and could prevent fraudulent removal and reattachment of this form to another document.
           Description of Attached Document
           Title or Type of Document'
                                 A i           t/6414A Otliral AktAIV-2(?)74-4f) Aha0t/                                                                           141/&01.eZ-•
           Document Date:                9-1 1                                                              illcumber of Pages:
           Signer(s) Other Than Named Above:                      WI
                                                                aM/Pth51--1
           Capacity(iened by Signer(s)

           Signer's Narn                                                                  Signers Name:
                     al
             Individual                                                                   0 Individual
             Corporate Officer—.Title(s):                                                 0 Corporate Officer —
           O Partner-0 Limited 0 General                       rilD11111-11.1M13PRINT
                                                                                          0 Partner —0 Limited 0 General                               RIGHTJHUNSPRINT
           O Attorney in Fact                                           SEG NER           0 Attorney in Fact                                             1COF SI GNER *.
                                                                                                                                                        Top of thumb here
           O Trustee                                                                      0 Trustee
           O Guardian or Conservator                                                      0 Guardian or Conservator
           O Other:                                                                       0 Other:

           Signer Is Representing:                                                         Signer Is Representing:


                                                                                                                                   ete,,,
                                                                                                                                       ,,,e,r, -aware- ck.erc,tr, •e74,:aecc,t7
           0260 Nadork Notary Associaaano 9350 De solo Ave., PD. Bea 2402 .chatsamelti, CA 91318,2402. aavaYlalionalNotryarg Item 43907 kaarder:CallToll-rmai-800-873.6327
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 69 of 78




                                                           IN THE CIRCUIT COURT OF THE
                                                           15TH JUDICIAL CIRCUIT IN AND
                                                           FOR PALM BEACH COUNTY
                                                           FLORIDA

         DAVID ZINN, an individual, and MICHAEL CASE NO: 2012CA006536AG
         GRAFF, an individual, on behalf of themselves
         and all others similarly situated,            CLASS REPRESENTATION

                            Plaintiffs,

         V S.


         SERVICE CORPORATION
         INTERNATIONAL, a Texas corporation; SCI
         FUNERAL SERVICES OF FLORIDA, INC., a
         Florida corporation; ALDERWOODS
         GROUP, INC., a Delaware corporation; MEI
         GROUP, INC., a Florida corporation;
         FUNERAL SERVICES ACQUISITION
         GROUPS a Florida corporation; FUNERAL
         SERVICES ACQUISITION GROUP, LLC, a
         Florida limited liability company; HAUCK
         ENTERPRISES, LTD., a Texas corporation;
         and RUSTY SCOTT, an individual.

                           Defendants.



                  VERIFIED MOTION FOR ADMISSION TO APPEAR PRO IMC ncE
                PURSUANT TO FLORIDA RULE OF JUDICIAL ADMINISTRATION 2310

                Comes now, Scott H. Sims, Movant herein, and respectfully represents the following:
                1.     Movant resides in Newport Beach, California. Movant is not a resident of the
                       State of Florida.
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 70 of 78




              2.    Movant is an attorney and a member of the law firm Eagan Avenatti, LLP, with
                    offices at 450 Newport Center Drive, Second Floor, Newport Beach, CA 92660,
                    (949) 706-7000.
              3.    Movant was retained personally or as a member of the above named law firm
                    within the last ninety (90) days by Plaintiffs to provide legal representation in
                    connection with the above-styled matter now pending before the above-named
                    court of the State of Florida.
              4.    Movant is an active member in good standing and currently eligible to practice
                    law in the following jurisdiction(s):
                            State of California (Bar No. 234178)
                            U. S. District Court for the Central District of California
                            U.S. District Court for the Southern District of California
                            U.S. District Court for the Eastern District of California
                            U.S. Court of Appeals, Ninth Circuit

              5.    There are no disciplinary proceeding pending against Movant, except as provided
                    below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                    of the violation and the sanction, if any, imposed):           N/A

              6.    Within the past five (5) years, Movant has not been subject to any disciplinary
                    proceedings, except as provided below (give jurisdiction of disciplinary action,
                    date of disciplinary action, nature of the violation and the sanction, if any,
                    imposed):       N/A

               7.   Movant has never been subject to any suspension proceedings, except as provided
                    below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                    of the violation and the sanction, if any, imposed):           N/A
               8.   Movant has never been subject to any disbarment proceedings, except as provided
                    below (give jurisdiction of disciplinary action, date of disciplinary action, nature
                    of the violation and the sanction, if any, imposed):           N/A
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 71 of 78




              9.     Movant, either by resignation, withdrawal, or otherwise, never has terminated or
                     attempted to terminate Movant's office as an attorney in order to avoid
                     administrative disciplinary, disbarment, or suspension proceedings.
               10.   Movant is not an inactive member of The Florida Bar.
               11.   Movant is not now a member of The Florida Bar.
               12.   Movant is not a suspended member of The Florida Bar.
               13.   Movant is not a disbarred member of The Florida Bar nor has Movant received a
                     disciplinary resignation from The Florida Bar.
               14.   Movant has not previously been disciplined or held in contempt by reason of
                     misconduct committed while engaged in representation pursuant to Florida Rule
                     of Judicial Administration 2.510, except as provided below (give date of
                     disciplinary action or contempt, reason therefore and court imposing contempt):
                            N/A
               15.   Movant has filed motion(s) to appear as counsel in Florida state courts during the
                     past five (5) years in the following matters:

               Date of Motion       Case Name Case Number Court Motion granted/Denied
                            None


               16.    Local counsel of record associated with Movant in this matter is Edward M.

                      Ricci, Edward M. Ricci, P.A., Bar No. 185673, who is an active member in good

                      standing of The Florida Bar and has offices at 303 Banyan Blvd., Suite 400, West

                      Palm Beach, FL 33401 (if local counsel is not an active member of The Florida

                      Bar in good standing, please provide information as to local counsel's

                      membership status.)
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              17.   Movant has read the applicable provisions of Florida Rule of Judicial

                    Administration 2.510 and Rule 1-3.10 of the Rules Regulating The Florida Bar

                    and certifies that this verified motion complies with those rules.

              18.   Movant agrees to comply with the provisions of the Florida Rules of Professional

                    Conduct and consents to the jurisdiction of the courts and the Bar of the State of

                    Florida.

                    WHEREFORE, Movant respectfully requests permission to appear in this court

                    for this case only.

                            DATED this    (14.1,    day of April, 2012.



                                                           Scott H. Sims
                                                           Eagan Avenatti, LLP
                                                           450 Newport Center Drive, Second Floor
                                                           Newport Beach, CA 92660
                                                           Tel. (949) 706-7000
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 73 of 78




         STATE OF CALIF ORNIA
         COUNTY OF ORANGE



                I, Scott H. Sims, do hereby swear or affirm under penalty of perjury that I am the Movant

         in the above-styled matter, that I have read the foregoing Motion and know the contents thereof,

         and the contents are true of my own knowledge and belief.




                                                      Scott H. Sims



                The foregoing instrument was acknowledged before me this            day of April, 2012 by

         Scott H, Sims who is personAlly known to me and who did take an oath.



                                                            day of April 2012.

                                                                akks.<_c_NAao.    ceNiccore_
                                                      Notary Public (Signature)


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                                                      PrintedVame
                                                      Commission Number: ttkr4.61 cv3

                                                      My commission expires: sin
                                                                               400 / .
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 74 of 78




                 I hereby consent to be associated as local counsel of record in this cause pursuant to

          Florida Rule of Judicial Administration 2.510.



                 DATED this       \I--     day of                    , 2012,




                                                       Edward M. Ricci
                                                       Edward M. Ricci, RA.
                                                       303 Banyan Blvd., Suite 400
                                                       West Palm Beach, FL 33401
                                                       TeL (561) 842-2820
                                                       Florida Bar Number: 185673
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 75 of 78




                                        CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a true and correct copy of the foregoing motion was furnished

         by U.S. Mail to PIN Admissions, The Florida Bar, 651 East Jefferson Street, Tallahassee,

         Florida 32399-2333 accompanied by payment of the S250.00 filing fee made payable to The

         Florida Bar and to:

         SERVICE CORPORATION INTERNATIONAL
         do Corporation Service Company IDEA CSC — Lawyers Incorporating Service Company
         211 E. 7th Street, Suite 620
         Austin, TX 78701-3218

         SCI FUNERAL SERVICES OF FLORIDA, INC.
         do The Prentice-Hall Corporation System, Inc.
         1201 Hays Street, Suite 105
         Tallahassee, FL 32301

         ALDERWOODS GROUP, INC.
         do Corporation Service Company
         1201 Hays Street
         Tallahassee, FL 32301-2525.

         MHI GROUP, INC.
         do Corporation Service Company
         1201 Hays Street
         Tallahassee, FL 32301-2525

         FUNERAL SERVICES ACQUISITION GROUP
         do Corporation Service Company
         1201 Hays Street       -
         Tallahassee, FL 32301-2525

         FUNERAL SERVICES ACQUISITION GROUP, LLC
         do Corporation Service Company
         1201 Hays Street
         Tallahassee, FL 32301-2525

         HAUCK ENTERPRISES, LTD.
         do Agents and Corporations, Inc.
         300 Fifth Avenue South, Suite 101-330
         Naples, FL 34102
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 76 of 78




          RUSTY SCOTT
          5411 Okeechobee Boulevard
          West Palm Beach, Florida 33417



                DATED this                 day of      , 2012.
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 77 of 78




         CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT                                                                                                           ClVIL CODE § 1189
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                State of California

               County of (            Ce..0-f)3 e.

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                personally appeared                        CC..1\--\--
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                                                                                      who proved to me on the basis of satisfactory
                                                                                      evidence to be the person( V whose name( is/eve
                                                                                      subscribed to the within instrument and acknowledged
                                                                                      to me that he/sfp/thity executed the same in
                                                                                      hisftritilltir authorized capacity(15,S), and that by
                                                                                      hiS/Ner/thgir signature( I on the instrument the
                                       MORGAN KA21.9(0 WITH                           personK or the entity upon behalf of which the
                                       Corarnission # 1129392                         person( acted, executed the instrument.
                                       Notary Pubt1 - California z
                                        . Orange County
                                                                                         I certify under PENALTY OF PERJURY under the
                                       Colima ires Mar 20,2015
                                                                                         laws of the State of California that the foregoing
                                                                                      -paragraph is true and correct

                                                                                         WITNESS my hand and official seal.


                                          Placa Notary seat Abovo
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                                                                           OPTIONAL
                      Though the information below is not required by law, it may prove valuable to persons relying on the document
                                and could prevent fraudulent removal and reattachment of this form to another document.
                Description of Attached Document
                Title or Type of Document: \I er`A              Vk.c.,YkuA ccC Ndryv.k.,r.=>                        A.200.0                                        tlec
                Document Date: 4 /                                                                                    Number of Pages:
                Signer(s) Other Than Named Above: --C.A.k.i-laca1/4
                Capacity(les) Claimed by Signer(s)
                Signer's Name: 5 co kis- NAcA„rxcr), Si 0-as                                     Signer's Name:
                O Corporate Officer — Title(s):                                                  0 Corporate Officer — Title(s) -
                1%r- individual                                     FOOFITTHLIMBPRINT            0 Individual
                                                                         OFSIGNER-
                O Partner —0 Limited 0 General                      Top of ti cab here           Ci Partner — 0 Limited 0 General
                O Attorney In Fact                                                               0 Attorney in Fact
                O Trustee                                                                        171 Trustee
                a Guardian or Conservator                                                        0 Guardian or Conservator
                O Other:                                                                         0 Other:


                Signer Is Representing:                                                          Signer is Representing:




         102010 Nallonel Notary ASSWIRIVII - Nal oraiNotary.org • 1-kb-DS NOTADY (r-a00-87.5-0827)
Case 0:12-cv-60720-XXXX Document 1-4 Entered on FLSD Docket 04/24/2012 Page 78 of 78




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